Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 1 of 61




           EXHIBIT A
         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 2 of 61



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA

                   v.                                      Case No. 22-cr-00007-LKG-1

    MARILYN J. MOSBY,

                            Defendant



              DEFENDANT MARILYN J. MOSBY’S MOTION TO DISMISS
             COUNTS 1 AND 3 OF THE INDICTMENT, OR ALTERNATIVELY
             TO COMPEL PRODUCTION OF THE INSTRUCTIONS OF LAW
               PROVIDED TO THE GRAND JURY FOR COUNTS 1 AND 3

        Pursuant to Federal Rules of Criminal Procedure 6(e)(3)(E)(ii), 7(d), and 12(b)(3)(B)(v),

Baltimore State’s Attorney Marilyn J. Mosby (“State’s Attorney Mosby”) respectfully moves the

Court to dismiss Counts 1 and 3 of the Superseding Indictment charging perjury, in violation of

18 U.S.C. § 1621, for failing to state an offense. Alternatively, State’s Attorney Mosby requests

that the Court order the production of the grand jury transcripts containing the instructions of law

for Counts 1 and 3 that were provided to the grand jury in this case (or permit their review in

camera), as detailed below.

        The Superseding Indictment is defective as a matter of law because it does not (and cannot)

sufficiently allege that the “matter” or statements State’s Attorney Mosby certified as true were

material—a required element for a perjury offense.1 Dismissal of Counts 1 and 3 is also warranted

because the phrase “adverse financial consequences” is fundamentally ambiguous and as such,

insufficient to support the perjury charges under § 1621.



1
  Recent events demonstrate just how critical—and potentially dispositive—materiality can be with respect to
allegedly false statements. On March 31, 2022, a jury acquitted former Hillary Clinton campaign lawyer Michael
Sussman of lying to the FBI after his lawyers “repeatedly harped on the ‘materiality’ element” of the charges against
him. See https://www.cnn.com/2022/05/31/politics/sussmann-verdict/index.html.
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 3 of 61



       Should the Court not dismiss Counts 1 and 3, State’s Attorney Mosby alternatively seeks

an order compelling the government to produce the instructions of law for Counts 1 and 3 that

were provided to the grand jury that returned the original and superseding Indictments. Barring

dismissal, such an alternative remedy would be warranted because the Superseding Indictment

alleges an incorrect legal standard not found in Section 2202 of the CARES Act (which the

government alleges State’s Attorney Mosby failed to meet) as the basis for charging perjury in

Counts 1 and 3. In this first of its kind case where the government has criminally prosecuted perjury

based on an individual’s Section 2202 coronavirus-related withdrawal, due process requires that

the Court ensure the grand jury was not improperly instructed with misleading and prejudicial

instructions, as the Superseding Indictment strongly suggests occurred.

                                        BACKGROUND

       A.      Distributions of Retirement Funds under Section 2202 of The CARES Act

       Congress enacted the CARES Act of 2020 to provide economic relief to taxpayers

impacted by the coronavirus pandemic. See IRS Guidance, attached hereto as Ex. 1, at. 1-3. Section

2202 of the CARES Act (“Section 2202”) provides such relief by allowing taxpayers to make early

withdrawals of their own retirement funds and providing favorable tax treatment with respect to

those distributions. Id. at 1. In particular, under Section 2202, a coronavirus-related distribution

(“CRD”) is not subject to the 10% early withdrawal penalty typical of retirement plans, and the

plan participant is allowed to spread the payments of the taxes due on the withdrawn amount over

a 3-year period, instead of being required to pay all the taxes in the year of the withdrawal. Id. A

self-certified qualified taxpayer was allowed, under Section 2202, to designate a distribution out

of their retirement account as coronavirus-related and enjoy that distribution subject to lesser tax

consequences than would otherwise be associated with such an early distribution. Id. at 6.




                                                -2-
         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 4 of 61



        B.       State’s Attorney Mosby’s Section 2202 Coronavirus-Related Withdrawals

        At all times relevant to this case, State’s Attorney Mosby participated in the City of

Baltimore Deferred Compensation 457(b) Plan, which was administered by Nationwide Insurance.

Super. Indictment, ¶ 3. At issue in this case are two Section 2202 CRDs that State’s Attorney

Mosby made in May and December of 2020. Id. at ¶¶ 4, 13.

        Notably, State’s Attorney Mosby did not enjoy any tax-related benefits by designating

these withdrawals as CRDs. Participants in 457(b) plans (such as State’s Attorney Mosby) are

never subject to the 10% early withdrawal penalty, unlike 401(k) and 403(b) plan participants; so

the savings offered by the Section 2202 10% penalty waiver did not apply to her.2 Further, State’s

Attorney Mosby paid all the taxes due on both of her withdrawals when she filed her 2020 taxes,

even though Section 2202 allowed her to defer those tax payments over three years.3 Simply put,

the only benefit State’s Attorney Mosby enjoyed from her two CRDs was her own money, and

nothing more – no waived 10% penalty, and no deferred tax liability.

        C.       The Government Alleges That State’s Attorney Mosby Committed Perjury
                 By Falsely Certifying That She Experienced Adverse Financial Consequences
                 Pursuant to Section 2202

        Almost 20 months after State’s Attorney Mosby made the first withdrawal, a federal grand

jury returned a four-count Indictment on January 13, 2022, and a Superseding Indictment on March

10, 2022, charging her with two counts of Perjury, in violation of 18 U.S.C. § 1621 (Counts 1 and

3) and two counts of making false statements on a loan application, in violation of 18 U.S.C.

§ 1014 (Counts Two and Four). Both Counts 1 and 3 concern State’s Attorney Mosby’s 457(b)

CRDs, see Super. Indictment, at ¶¶ 4, 13, and accuse State’s Attorney Mosby of falsely certifying


2
  Retirement Topics - Exceptions to Tax on Early Distributions: Exception to 10% Additional Tax. IRS.gov. (last
updated 07-Apr-2022), https://www.irs.gov/retirement-plans/plan-participant-employee/retirement-topics-tax-on-
early-distributions.
3
  In lieu of attaching the tax documents (which contain confidential information) under seal, State’s Attorney Mosby
can make those documents available to the Court as necessary.


                                                       -3-
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 5 of 61



under oath that she experienced “adverse financial consequences” pursuant to Section 2202. The

government claims that this certification was false because:

       MOSBY received her full salary of $247,955.58 from January 1, 2020, through the
       date on which she signed this form, December 29, 2020, in bi-weekly gross pay
       direct deposits in the amount of $9,183.54 and had not experienced any of the
       enumerated financial hardships she claimed to have experienced.

See Super. Indictment, at ¶¶ 5, 14.

       Throughout Counts 1 and 3 of the Superseding Indictment, the government uses

inconsistent terminology when referring to the nature of the certification, variously using the

phrase “financial hardship,” see, e.g., Super. Indictment at ¶¶ 1, 5, interchangeably with “adverse

financial consequences.” See, e.g., id. at ¶ 3. Despite using these phrases interchangeably, only

“adverse financial consequences” appears in Section 2202.

                                         ARGUMENT

       Counts 1 and 3 fail to state a viable offense and should be dismissed for two reasons. First,

the Superseding Indictment fails to allege (and cannot allege) that the “matter” or statements

State’s Attorney certified as true were material. Second, the phrase “adverse financial

consequences” which is the basis for qualification for a CRD is fundamentally ambiguous and thus

insufficient to support a charge of perjury under § 1621. For either or both of these reasons,

dismissal of Counts 1 and 3 is appropriate.


I.     COUNTS 1 AND 3 FAIL TO STATE AN OFFENSE AND SHOULD BE
       DISMISSED

       A.      Governing Law

       Federal Rule of Criminal Procedure 12(b)(3)(A) provides that a defendant may move to

dismiss an indictment or allegations in an indictment based on a defect in the charging instrument,

including failure to state an offense. Id. “When a defendant challenges the sufficiency of an



                                               -4-
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 6 of 61



indictment, courts apply a ‘heightened scrutiny to ensure that every essential element of an offense

has been charged.’” United States v. Perry, 757 F.3d 166, 171 (4th Cir. 2014). To be legally

sufficient, an indictment “must contain the elements of the offense charged.” United States v.

Kingrea, 573 F.3d 186, 191 (4th Cir. 2009) (citations omitted). That an indictment must include

all elements of an offense derives from “the Fifth Amendment requirement that all elements of the

offense have been considered and found by the grand jury.” United States v. Hooker, 841 F.2d

1225, 1230 (4th Cir. 1988).

        To be sufficient, an indictment must “fully, directly, and expressly, without any uncertainty

or ambiguity, set forth all the elements necessary to constitute the offense.” United States v.

Remarque, No. SAG-19-0039, 2021 U.S. Dist. LEXIS 28016, at *6 (D. Md. Feb. 12, 2021) (citing

Hamling v. United States, 418 U.S. 87, 117 (1974) (emphasis added)). “If the indictment does not

contain every essential element of the offense, it is invalid.” United States v. Loayza, 107 F.3d

257, 260 (4th Cir. 1997). But “simply parroting the language of the statute in the indictment is

insufficient.” United States v. Fitzgerald, 514 F. Supp. 3d 721, 737-38 (D. Md. 2021). “[I]n testing

the sufficiency of an indictment, ‘it is the statement of facts in the pleading, rather than the statutory

citation that is controlling …’” Hooker, 841 F.2d at 1227. As the Court of Appeals for the Fourth

Circuit has instructed:

        When the words of a statute are used to describe the offense generally, they must
        be accompanied with such a statement of the facts and circumstances as will inform
        the accused of the specific offense, coming under the general description, with
        which he is charged. Thus, the indictment must also contain a statement of the
        essential facts constituting the offense charged.

United States v. Brandon, 298 F.3d 307, 310 (4th Cir. 2002) (emphasis added).




                                                  -5-
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 7 of 61



       B.      Counts 1 and 3 Fail to Sufficiently Allege Materiality

       Counts 1 and 3 fail to state the offense of perjury under 18 U.S.C. § 1621 because they do

not allege an essential element of the offense, i.e., that the “matter” or statements State’s Attorney

Mosby certified as true, were material.

       Section 1621 provides, in relevant part:

       Whoever … in any declaration … under penalty of Perjury as permitted under
       section 1746 of title 28, United States Code, willfully subscribes as true any
       material matter which [s]he does not believe to be true … is guilty of Perjury.

18 U.S.C. § 1621(2) (emphasis added). Thus, to properly bring a charge under § 1621, an

indictment must “fully, directly, and expressly, without any uncertainty or ambiguity” set forth “a

statement of the facts and circumstances” showing: “(1) a declaration, (2) made under penalty of

Perjury, (3) in which the accused willfully subscribes as true (4) any material matter, (5) which

[s]he does not believe to be true.” United States v. Savoy, 38 F. Supp. 2d 406, 413 (D. Md. 1998)

(internal quotation marks omitted) (emphasis added). Important for the purposes here, “[a]n

allegedly perjured statement is material ‘if it has a natural tendency to influence, or is capable of

influencing, the decision-making body to which it was addressed.” United States v. Savoy, 38 F.

Supp. 2d 406, 413 (D. Md. 1998) (emphasis added). The Superseding Indictment falls woefully

short of this standard.

       The Superseding Indictment alleges that State’s Attorney Mosby falsely certified as true,

the following “matter” or statement:

       I have experienced adverse financial consequences stemming from [the
       Coronavirus] as a result of:
       Being quarantined, furloughed or laid off
       Having reduced work hours
       Being unable to work due to lack of child care
       The closing or reduction of hours of a business I own or operate.




                                                -6-
          Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 8 of 61



See Super. Indictment at ¶ 12. But missing from the Superseding Indictment is “a statement of the

essential facts” showing that the “matter” or statement that State’s Attorney Mosby certified as

true, that is, the specific reasons she qualified for the distribution, themselves, were material. And,

as this Court held in Savoy, the Superseding Indictment also had to contain specific facts

demonstrating that those specific reasons were addressed to and capable of influencing a “decision-

making body.” Savoy, 38 F. Supp. 2d at 413 (holding that a “material matter” that is, one that is

“capable of influencing, the decision-making body to which it was addressed,” is a necessary

element for a charge of perjury under § 1621); Brandon, 298 F.3d at 307 (“[T]he indictment must

also contain a statement of the essential facts constituting the offense charged”) (emphasis added).

         Rather than meeting these legal requirements, the Superseding Indictment, in alleging

materiality, merely “parrots” the statutory language then confusingly claims something else was

material. Specifically:

         MARILYN J. MOSBY did submit a “457(b) Coronavirus-Related Distribution
         Request” to Nationwide … It was material to such distribution requests that the
         applicants certify that s/he meet at least one of the qualifications for a distribution
         as defined under the CARES Act Section 2202(a)(4)(A) as summarized on the
         distribution request.

See Super. Indictment at ¶¶ 4, 13. This falls short of the “without any uncertainty or ambiguity”

standard and is insufficient under Fourth Circuit law because simply alleging generally and in

conclusory fashion, as the Superseding Indictment does, that “it was material to such distribution

requests that the applicants certify” they were qualified is simply not enough under this Court’s

precedent and the law of this Circuit. Savoy, 38 F. Supp. 2d at 413; see also Hooker, 841 F.2d at

1233 (dismissing RICO charge because the indictment failed to set forth facts showing that the

defendant was engaged in interstate commerce, a required element).4


4
  The government’s allegations here are akin to saying that a witness’ taking of the oath to testify truthfully is material
instead of the actual testimony itself.


                                                          -7-
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 9 of 61



       As such, the allegations in Counts 1 and 3 fail as a matter of law and should be dismissed.

       C.      Counts 1 & 3 Can Never Properly Allege Materiality Under the Facts of This
               Case.

       As discussed above, a statement is only material “if it has a natural tendency to influence,

or is capable of influencing, the decision-making body to which it was addressed.” Savoy, 38 F.

Supp. 2d at 413; United States v. Kimble, No. WDQ-13-035, 2015 U.S. Dist. LEXIS 90107, at *98

(D. Md. July 8, 2015) citing Neder v. United States, 527 U.S. 1, 16 (1999) (“In general, a false

statement is material if it has a natural tendency to influence, or [is] capable of influencing, the

decision of the decision-making body to which it was addressed.”); United States v. Rigas, 490

F.3d 208, 235 (2d Cir. 2007) (a statement is material only if it is capable of influencing a decision

that the decision-maker is “entitled to” or “able to make”).

       It is not a surprise that the Superseding Indictment fails to set forth facts showing that the

alleged false statements were directed to or capable of influencing a “decision-making body”

because there is no “decision of [a] decision-making body” as contemplated by § 1621, involved

in the process for making a CRD. Under Section 2202, a CRD is defined as “any distribution from

an eligible retirement plan made on or after January 1, 2020, and before December 31, 2020, to a

qualified individual.” See IRS Guidance, at 5. Whether a plan participant is a “qualified individual”

is not determined by the insurance plan or any “decision-making body.” Instead, a plan participant

self-certifies that they meet the definition of a “qualified individual” under Section 2202 and

instructs the plan to treat the distribution as a “coronavirus-related distribution.” See IRS Guidance,

at 5-6, 9. And, the IRS has instructed that the plan administrator “may rely on an individual’s

certification” that they are qualified. See IRS Guidance, at 9.

       Put differently, when State’s Attorney Mosby submitted the 457(b) distribution form to

Nationwide, she was not submitting it for Nationwide to decide whether she was qualified based



                                                 -8-
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 10 of 61



on the veracity of the statements that corresponded to the box she checked, that is, the specific

reasons she self-certified qualified her for a distribution. Instead, she was designating the

distribution as a CRD and instructing Nationwide to treat it as such.

        Significantly, the procedure State’s Attorney Mosby followed for her CRD differs

markedly from a plan participant who requests “hardship” or “emergency” distributions from their

retirement plans, including the 457(b) plan for which State’s Attorney Mosby is a participant.

Unlike a CRD, “hardship” or “emergency” distributions require the plan to engage in a “decision-

making” process to determine not only whether a participant qualifies for the distribution but also

the amount of the distribution.

        Section 2202 CRDs are separate and distinct from “hardship” and “emergency”

distributions from retirement plans which were, and continue to be, available to plan participants,

before and after the enactment of Section 2202. In particular, 457(b), 401(k) and 403(b) retirement

plans all offer “hardship” or “emergency” distributions to plan participants based on immediate

and specific need.5 The IRS defines the “hardship” distributions offered under 401(k) and 403(b)

plans as distributions made because of an “immediate and heavy financial need.”6 Similarly,

“emergency” distributions offered under 457(b) plans are defined “as distributions to a participant

based on an unforeseeable emergency.”7 And the process for requesting and receiving a “hardship”

or “emergency” distribution differs significantly from Section 2202 CRDs.

        Unlike a CRD, qualification for a “hardship” or “emergency” distribution is determined by

the plan and is based on the specific need identified by the plan participant. For example, to



5
  See, e.g., Retirement Topics - Hardship Distributions. IRS.gov. (last updated 27-Apr-2022),
https://www.irs.gov/retirement-plans/plan-participant-employee/retirement-topics-hardship-distributions.
6
  Id.
7
  Unforeseeable Emergency Distributions from 457(b) Plans. IRS.gov. (last updated 17-Mar-2022),
https://www.irs.gov/retirement-plans/employee-plans-news-december-17-2010-unforeseeable-emergency-
distributions-from-457b-plans


                                                      -9-
           Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 11 of 61



determine the eligibility of a plan participant for a 457(b) “emergency” distribution, the

administrator for State’s Attorney Mosby’s plan, Nationwide, requires participants “to provide a

detailed explanation of the unforeseeable emergency … including names and dates.” See

Nationwide 457(b) Emergency Distribution Request Form, attached as Ex. 2. And for “hardship”

withdrawals, as expressly provided in the withdrawal application: “The Plan permits hardship

withdrawals only to the extent a participant demonstrates to the satisfaction of the Plan Committee

that the reason for the hardship withdrawal complies with the applicable requirements under the

Internal Revenue Code and that such hardship imposes an immediate and heavy financial burden

upon such participant.” See Nationwide Hardship Withdrawal Application form, attached as Ex. 3.

Unlike CRDs, there is no self-certification of qualification for these distributions.

           Moreover, both ‘hardship” and “emergency” distributions are directly tied to and limited

by the identified “hardship” or “emergency” and the amount a plan participant is allowed to

withdraw is determined by the plan. See id. (“Hardship withdrawals are limited to bona fide

financial emergencies as determined by the Plan Committee) (emphasis added); IRS.GOV8

(“Hardship withdrawals are “[l]imited to the amount necessary to satisfy that financial need.”)

(emphasis in original); See Ex. 2 (“Distributions due to unforeseeable emergencies are only

permitted in the amount necessary to satisfy the financial need.”) (emphasis added). By contrast,

there is no such limitation for a Section 2202 CRD; a plan participant may withdraw any amount

up to the maximum preset and expressly provided for in the statute. Further, “CRDs are permitted

without regard to the qualified individual’s need for funds, and the amount of the distribution is

not required to correspond to the extent of the adverse financial consequences experienced by the

qualified individual.” See IRS Guidance, at 6 (emphasis added).



8
    Note 5, supra.


                                                - 10 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 12 of 61



       So while the specific indicated reason for a “hardship” or “emergency” withdrawal may

be material because it is used by the plan to determine whether a plan participant is qualified and

the amount of funds they are eligible to receive, the indicated reason for a CRD under Section

2202—the statement that corresponds to the box a participant checks—is not. As clearly outlined

in the IRS guidelines, a plan is not obliged to inquire into the veracity of the statements that

correspond to the box a participant checks on a CRD form to determine whether they qualify for

the distribution. Once a participant checks a box, indeed any box on the CRD form, the plan may

rely on that certification. IRS Guidance, 9. While checking a box may be relevant to a plan (in that

checking the box is required to completely fill out the form), the underlying statements associated

with that box have no probative weight and are not “capable of influencing” a plan into making

the CRD. Weinstock v. United States, 231 F.2d 699, 701 (1956) (“To be ‘relevant’ means to relate

to the issue. To be ‘material’ means to have probative weight … A statement may be relevant but

not material.”); United States v. Rigas, 490 F.3d 208, 235 (2d Cir. 2007) (finding no materiality

and holding: “While the leverage ratio here is certainly relevant, Defendants’ misrepresentations

were material only if they tended to affect interest rates.”).

       In sum, per the IRS guidelines, unlike “hardship” or “emergency” withdrawals, the

statements that correspond to the box a participant checks in a Section 2202 CRD form have no

probative weight such that a plan administrator need inquire into the veracity of those statements

to qualify an applicant for a distribution or the amount they receive. As such, under the alleged

facts here, the Superseding Indictment does not, and in any event, could never properly allege

materiality pursuant to § 1621 and thus Counts 1 and 3 should be dismissed.




                                                - 11 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 13 of 61



II.    DISMISSAL OF COUNTS 1 & 3 IS REQUIRED BECAUSE THE TERM
       “ADVERSE FINANCIAL CONSEQUENCES” IS FUNDAMENTALLY
       AMBIGUOUS

       Counts 1 and 3 should also be dismissed on the equally-dispositive ground that the term

“adverse financial consequences”—which Section 2202 provides as the basis for qualification for

a CRD—is fundamentally ambiguous and thus insufficient to support a perjury charge.

       “[P]recise questioning is imperative as a predicate for the offense of Perjury.” Bronston v.

United States, 409 U.S. 352, 362 (1973) (internal quotation marks omitted). “Perjury requires that

a witness believe that the testimony he gives is false. Thus, whether the witness believes that an

answer is true or false generally turns on the declarant’s understanding of the question” or

statements contained therein. United States v. Lighte, 782 F.2d 367, 372 (2d Cir. 1986); United

States v. Manapat, 928 F.2d 1097 (11th Cir. 1991). As such, “answers to fundamentally ambiguous

questions cannot support a Perjury conviction.” United States v. Chujoy, 207 F. Supp. 3d 626, 651

(W.D. Va. 2016); Manapat, 928 F.2d at 1102 (“[T]he government may not provide someone with

a confusing and ambiguous form and then prosecute when the answers are inaccurate.”). Courts

routinely dismiss charges where questions or phrases are fundamentally ambiguous and thus

insufficient as a matter of law to support a charge of perjury. See, e.g., Chujoy, 207 F. Supp. 3d at

652 (dismissing perjury charge where question was fundamentally ambiguous); accord Lighte,

782 F.2d at 375 (holding that fundamentally ambiguous question insufficient as a matter of law to

support indictment of conviction); Manapat, 928 F.2d at 1097 (affirming pre-trial dismissal

because the application form containing the phrases “Record of Traffic Convictions” and a

“Record of Other Convictions” was fundamentally ambiguous); United States v. Ryan, 828 F.2d

1010, 1015-16 (3d Cir. 1987) (reversing a defendant’s conviction because the phrase “previous

address” in credit card application form was fundamentally ambiguous because “previous” was

capable of different interpretations).


                                               - 12 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 14 of 61



       “[A] question or phrase is fundamentally ambiguous when it ‘is not a phrase with a

meaning about which men of ordinary intellect could agree, nor one which could be used with

mutual understanding by a questioner and answerer unless it were defined at the time it were sought

and offered as testimony.’” Manapat, 928 F.2d at 1100. In conducting this inquiry, a court will

examine the question itself and “the context of the question and answers, as well as other extrinsic

evidence, to determine whether the respondent provided false answers to the questions ‘as he

understood [them].’” United States v. Bussell, 414 F.3d 1048, 1057 (9th Cir. 2005).

       A.      The Term “Adverse Financial Consequences” Is Undefined and Thus
               Fundamentally Ambiguous

       The fundamental ambiguity of the subject phrase here surpasses any of the examples cited

above. Specifically, the “457(b) CRD Request” form requires the following self-certification:

       I have experienced adverse financial consequences stemming from such virus or
       disease as a result of:
            Being quarantined, furloughed or laid off
            Having reduced work hours
            Being unable to work due to lack of child care
            The closing or reduction of hours of a business I own or operate

       Nationwide’s 457(b) Coronavirus-related distribution form, attached as Ex. 4. Whether a

retirement plan participant suffered an “adverse financial consequence” is fundamentally

ambiguous because the term is ‘is not a phrase with a meaning about which men of ordinary

intellect could agree.” Manapat, 928 F.2d at 1100.

       The statute from where the phrase is derived, Section 2202 of the CARES, does not define

the term “adverse financial consequences.” Moreover, the term is not defined on the distribution

form or in any guidance promulgated by the IRS. See Ex. 4. And as noted, Counts 1 and 3 are the

first of their kind and there are no regulations or cases precedent defining the phrase and providing

a standard to be applied in a criminal prosecution for perjury or any other offense. Manapat, 928




                                               - 13 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 15 of 61



F.2d at 1100 (a phrase is fundamentally ambiguous and insufficient to support a perjury charge

particularly when it was not defined for the questioner and answerer at the time the answer was

sought); see also United States v. Engle, 676 F.3d 405, 415 (4th Cir 2012) (“A district court may

dismiss an indictment under Rule 12 where there is an infirmity of law in the prosecution. . . .”).

The phrase is a definitional mystery and this mystery has, as illustrated below, left many seasoned

tax and legal professionals wondering and speculating as to its meaning:

   “The IRS has not defined “adverse financial consequences,” but presumably this means
    financial difficulties, and as discussed below, the individual can self-certify to this.” IRS
    Clarifies Retirement Account Changes from the CARES Act, Jana M. Luttenegger Weile.
    JDSupra,      available     at    https://www.jdsupra.com/post/contentViewerEmbed.aspx
    ?fid=956655ba-e32a-4189-924a-8bfe9c66c98b. Accessed 5/3/2021.

   “Adverse financial consequences are not defined. Clearly someone losing an entire income
    as a result of a virus-triggered business closing has suffered substantial adverse financial
    consequences. But the statute does not require “substantial” consequences--any adverse
    financial consequences will do. Natalie Choate. Who Qualifies for Coronavirus-Related
    Distributions? Morning Star. May 14, 2020, available at https://www.morningstar.com/
    articles/984600/who-qualifies-for-coronavirus-related-distributions

   “The IRS has not yet issued guidance defining ‘adverse financial consequences.’ This
    determination is highly dependent upon a subjective interpretation of the facts and
    circumstances of each situation.” CARES Act: Penalty-Free Withdrawals. 09.09.2020.
    Goldman Sachs, available at https://www.ayco.com/insights/articles/cares-act-penalty-
    free-withdrawals.html#insightsdisclosure

   “Adverse financial consequences is not a term of precision and will need additional
    clarification.” David Cechanowicz. Special Coronavirus Relief for Retirement Plans and
    IRAs: Facts You Need to Know. REDW Wealth LLC. Attached as Ex. 5.

There was even uncertainty on whether the enumerated factors were all-inclusive:

   “The listing of ‘adverse financial consequences,’ meanwhile, includes but is not limited to
    being quarantined, furloughed, laid off or a reduction of work hours, having a lack of
    childcare or a reduction in pay or self-employment income.” Angela Evans. Learn If You
    Qualify For A Coronavirus-Related Distribution. McClintock and Associates. November
    11, 2020, available at https://www.mcclintockcpa.com/learn-if-you-qualify-for-a-
    coronavirus-related-distribution/

   “Basically, these factors include lost wage or business income due to the effect of the virus
    on the individual’s employer, business, or day care provider. The net is cast pretty wide


                                               - 14 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 16 of 61



   considering it would include the shut-down and longer-term changes in shopping, dining,
   travel, entertainment and commuting habits.” James Solheim J.D., Expert Insights:
   Coronavirus Distributions: Adverse Financial Consequences and Recontributions.
   Wolters Kluwer Tax & Accounting North America United States. July 02, 2020.
   https://www.wolterskluwer.com/en/expert-insights/coronavirus-distributions-adverse-
   financial-consequences-and-recontributions

       The fundamental ambiguity of the term “adverse financial consequences” makes it

insufficient as a matter of law to support a charge of perjury. As such, Counts 1 and 3 should be

dismissed.

       B.     The Government’s Invented Standards for “Adverse Financial
              Consequences” Should be Rejected

       Confronted by this fundamental ambiguity, the government has created multiple standards

for “adverse financial consequences” out of whole cloth. This alone illustrates the phrase’s

fundamental ambiguity. In particular and most concerning, the government invents both a higher

standard for qualification, and a limiting standard for what can be considered “adverse financial

consequences.” Neither is supported by the text of Section 2202 or any case law, and the Court

cannot accept or allow a jury to consider the government’s construction of Section 2202 because

doing so would violate well-established Due Process principles.

       First, the government claims that State’s Attorney Mosby’s certification that she

experienced “adverse financial consequences” “was false in that MOSBY received her full salary

… through the date on which she signed this form.” See Super. Indictment at ¶¶ 5, 14. But this is

pure fiction by the government, because nothing about Section 2202 supports a finding that

“adverse financial consequences” is dictated by a person’s salary. Such a reading is unsupported

by any statute, regulation, or formally promulgated guidance related to the Section 2202, or any

case law. The government’s reading is also contrary to common sense because there may be

countless reasons why a particular person may perceive they have experienced adverse financial

consequences pursuant to Section 2202 whether or not they experienced a reduction in pay.


                                             - 15 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 17 of 61



       For example, even if a person receives their full salary, do they experience adverse financial

consequences pursuant to Section 2202 if a planned business venture and the income expected

therefrom are essentially deemed “dead in the water” because of the pandemic? Even if receiving

their full salary, does that person experience adverse financial consequences if inflation rises, if

the costs for meals are increased because their kids are at home and not receiving meals at school,

if they have more food delivered because it’s risky to go shopping for groceries, if utility costs

increase because everyone is working or schooling from home, or if the costs related to starting

and implementing a now shuttered business venture cannot be recovered because they will no

longer receive the anticipated income the business venture would have generated? See, e.g.,

Wolters Kluwer, supra (“The net is cast pretty wide considering it would include the shut-down

and longer-term changes in shopping, dining, travel, entertainment and commuting habits.”)

Because of the lack of a definition and the fundamental ambiguity of the term “adverse financial

consequences” there may be no way to accurately answer such questions. This is likely why the

drafters of Section 2202 wisely provided that a plan participant may self-certify they have suffered

“adverse financial consequences” as such a determination is necessarily based on an individual’s

subjective perception of their own personal financial circumstances.

       The government’s tethering of “adverse financial consequence” solely to a person’s salary

has no foundation in law or reality and cannot be the used as the basis for prosecuting State’s

Attorney Mosby under Counts 1 and 3.

       Second, the government changes the standard for qualification for a Section 2202 CRD by

improperly equating “adverse financial consequences” (the language in the statute) with “financial

hardship.” The government makes this insidious change by claiming that State’s Attorney Mosby’s

certification that she experienced “adverse financial consequences” was false because she “had




                                               - 16 -
        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 18 of 61



not experienced any of the enumerated financial hardships she claimed to have experienced.”

Super. Indictment at ¶¶ 5, 14. The government’s false equivalence here does not comport with the

ordinary meaning of the words “consequence” and “hardship.” A “consequence” is “[a] result that

follows as an effect of something that came before.” Black's Law Dictionary (10th ed. 2014)

(emphasis added)). On the other hand, “hardship” means “privation” or “suffering.” Id. By falsely

equating these two different terms, the government seeks to create a new and never before seen

standard for qualification under Section 2202.

        Here again, the government’s imputing of a hardship requirement into Section 2202 is

unsupported by any statute, regulation, formally promulgated guidance, or case law. It is solely

the creation of the government for prosecuting this case. The allegation that State’s Attorney

Mosby committed perjury because she “had not experienced any of the enumerated financial

hardships she claimed to have experienced” is a farce because Nationwide’s 457(b) distribution

form contains no “enumerated financial hardships.” See Ex. 4. Indeed, the word “hardship” appears

nowhere on the 457(b) CRD form. Id. More significantly, the word “hardship” cannot be found

anywhere in Section 2202. And as discussed above, 401(k), 403(b), and 457(b) plans already

provide a means for participants who suffer “financial hardship” to receive a distribution that is

separate and apart from a Section 2202 CRD. Equating a Section 2202 distribution to a “hardship”

distribution is yet another invention by the government because experiencing “financial hardship”

is not a requirement to qualify for a distribution under Section 2202. See Ex. 4. State’s Attorney

Mosby checked the box on a 457(b) coronavirus distribution form, not a box on a 457(b)

“emergency” or “hardship” withdrawal form, and thus never claimed, as the government

improperly charges, to have experienced “financial hardship”.9 Compare Ex. 4 with Ex. 2. The


9
 In terms of statutory interpretation, the drafters of Section 2202 appeared to have recognized the significance (and
difference) of the two terms because while qualification under Section 2202 only requires “financial consequences”


                                                       - 17 -
         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 19 of 61



government’s assertion of this never before seen, false, problematic, and misleading standard of

“financial hardship” is due to the fundamental ambiguity of the phrase “adverse financial

consequences.” Due process requires that such ambiguity not exist nor serve as the basis of a

criminal perjury prosecution. Manapat, 928 F.2d at 1102 (“[T]he government may not provide

someone with a confusing and ambiguous form and then prosecute when the answers are

inaccurate.”).

         This Court should therefore reject the government’s attempt to superimpose on Congress’

choice of words different constructions to facilitate a prosecution of State’s Attorney Mosby. Were

the Court to allow the jury to consider the government’s erroneous interpretation of Section 2202,

State’s Attorney Mosby’s due process right to fair notice would be violated because prior to

making the withdrawal, there was no way for her to know of these never before existing standards

and thus what was prohibited under Section 2202.

         For these reasons, the Court should reject the standards invented by the government for

Section 2202, and dismiss Counts 1 and 3 because the phrase “adverse financial consequences” is

fundamentally ambiguous and insufficient to be the basis for a perjury charge under § 1621.

III.     ALTERNATIVELY, THE COURT SHOULD ORDER THE GOVERNMENT TO
         PRODUCE THE INSTRUCTIONS OF LAW PRESENTED TO THE GRAND
         JURY REGARDING COUNTS 1 AND 3.

         As an alternative to dismissal, the Court should order the government to produce to the

defense the instructions of law concerning Counts 1 and 3 provided to the grand jury(ies) that

returned the original and superseding indictments. There is “a particularized need” for the




other sections of the Cares Act explicitly require a showing of “financial hardship”; for example, “financial hardship”
is required to qualify for relief under section 4022 – consistent with the definition “suffering” or “privation” – which
places a moratorium on foreclosures and gives consumers the right to have a forbearance on mortgage payments.


                                                        - 18 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 20 of 61



instructions to ensure that the grand jury was properly instructed about the law in this

unprecedented and first of its kind prosecution.

       Although grand jury proceedings are generally secret in nature, “in some situations justice

may demand that discrete portions of transcripts be made available for use in subsequent

proceedings.” Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 219-20 (1979); In re Grand Jury

Proceedings, 800 F.2d 1293, 1299-300 (4th Cir. 1986) (“Grand jury secrecy is, of course, not an

end in itself … when the advantages gained by secrecy are outweighed by a counter vailing interest

in disclosure, secrecy may and should be lifted, for to do so in such a circumstance would further

the fair administration of criminal justice.”) (citation omitted). Such situations are what “led to the

provision in [Fed. R. Crim. P. 6(e)(3)(E)(ii)]” which provides that the Court is authorized to order

disclosure of grand jury matter at the request of a defendant if “irregularities may have occurred

in the grand jury proceedings and may justify the dismissal of one or more counts of the

indictment.” Id. (citing Fed. Rule Crim. Proc. 6 (e)(2)(C)(i)) (now, Fed. R. Crim. P. 6(e)(3)(E)(ii));

United States v. Naegele, 474 F. Supp. 2d 9, 10 (D.D.C. 2007).

       The Court may exercise its discretion and require the disclosure of grand jury materials

where a defendant demonstrates that a “particularized need” exists that outweighs the policy of

grand jury secrecy. In re Grand Jury Proceedings, 800 F.2d at 1297. This Court has recognized

that such a need for disclosure exists where, as here, it is likely that the grand jury was given

“erroneous and prejudicial legal advice” by the prosecutor. United States v. Stevens, 771 F. Supp.

2d 556, 564 (D. Md. 2011) (first ordering disclosure of relevant portions of grand jury transcript,

then dismissing indictment after transcript showed that the “prosecutor's legal instruction to the

grand jury seriously misstate[d] the applicable law”); see also Naegele, 474 F. Supp. 2d at 12.




                                                - 19 -
       Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 21 of 61



       As in Stevens, a “particularized need” for disclosure of grand jury materials exists here. It

bears repeating that Counts 1 and 3 are based on a theory of perjury that has never been prosecuted

before now. This case will establish the precedent for the standard required to bring prosecutions

for perjury against the millions of plan participants who made CRDs and checked a box on a

Section 2202 distribution form. Indeed the complete lack of law concerning this theory of perjury

warrants the Court ensuring that the grand jury was properly instructed on the law.

       This is especially important here because the Superseding Indictment on its face provides

sufficient reasons for the Court to be concerned that the grand jury was improperly instructed in

regards to Counts 1 and 3. For instance, Counts 1 and 3 of the Superseding Indictment have the

following respective headings: “Perjury - May 2020 COVID 19 HARDSHIP WITHDRAWAL” and

“Perjury - December 2020 COVID 19 HARDSHIP WITHDRAWAL.” As discussed above, State’s

Attorney Mosby did not make a “hardship withdrawal” as the word “hardship” appears nowhere

on the form she submitted or in Section 2202, because experiencing “financial hardship” is not the

legal standard to qualify for a Section 2202 distribution. A COVID-19 withdrawal is NOT a

“hardship withdrawal.” Indeed the Congressional Research Service, which provides the legislature

with expert “research and analytical services” when drafting and enacting laws, including the

CARES Act, see 2 U.S.C.S. § 166, expressly makes this distinction:

       Unlike hardship distributions, CRDs could be included in taxable income in 2020
       alone or included equally over 2020, 2021, and 2022, and the amount of the CRD
       may be recontributed to an individual’s account within three years.

Library of Cong. Elizabeth A. Myers, Cong. Research Serv., R46837, The CARES Act: Selected

Data on Coronavirus-Related Distribution and Loan Usage in 2020 (July 13, 2021).

       Claiming that State’s Attorney Mosby made a “COVID-19 Hardship Withdrawal” and

labeling Counts 1 and 3 as such, is erroneous, specious and prejudicial in every respect. The

government’s “hardship withdrawal” allegations are wrong factually and legally and cannot be


                                              - 20 -
         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 22 of 61



used to prosecute State’s Attorney Mosby. The government’s labelling of Counts 1 and 3 as

“COVID 19 HARDSHIP WITHDRAWAL” and predicating its charges on the false claim that

State’s Attorney Mosby represented that she suffered “enumerated financial hardships” is highly

indicative that the government presented this invented and erroneous legal standard to the grand

jury, which the grand jury likely considered in finding probable cause to return the Superseding

Indictment. See Super. Indictment at ¶¶ 5, 14.

         If the Government presented to the grand jury, as the defense suspects, this invented and

demonstrably false legal standard based on its erroneous interpretation of Section 2202, just as in

Stevens, dismissal of the subject counts would be “appropriate and required in the interests of

justice.”10 Stevens, 771 F. Supp. 2d at 568; accord United States v. Peralta, 763 F. Supp. 14, 21

(S.D.N.Y. 1991) (dismissing indictment because the “defendants were seriously prejudiced by the

cumulative effect of the government's misleading statements of law” to the grand jury).11

         As such, a “particularized need” exists here and the Court should order the production of

the sections of the Grand Jury transcripts in this case related to the prosecutors’ presentation of




10
  Further, the government’s “materiality” allegations, or lack thereof, also indicate that the grand jury may have been
improperly instructed on what needs to be material for the government to bring a perjury charge under § 1621. If the
government improperly instructed the grand jury, as the defense suspects, that the certification was material, and not
that the “matters” or specific statements State’s Attorney Mosby certified as true, themselves, were material, then
dismissal of the subject charges would also be warranted.
11
  In addition, the other factors courts look to in determining whether production of grand jury transcripts is appropriate
further counsel in favor of disclosure here. Specifically: (1) the Grand Jury’s work is completed (and thus, the need
for secrecy is reduced); (2) there is no concern associated with preventing escape from individuals under governmental
scrutiny (Defendant is the State’s Attorney for Baltimore City); (3) disclosure of the transcripts in this limited context
would not interfere with the Grand Jury’s freedom of deliberation – on the contrary, it will establish whether the Grand
Jury was given “erroneous and prejudicial legal advice” by the prosecutor in violation of State’s Attorney Mosby’s
constitutionally protected rights, as it appears from the face of the Indictment; and (4) the other factors – i.e., concerns
about subordinating perjury or tampering, encouraging free disclosure of information from persons with knowledge,
and to prevent the innocent – are inapplicable because the Grand Jury’s work is completed. See In re Grand Jury
Proceedings, 800 F.2d at 1300-03 (listing factors relevant to determination of whether to release grand jury
transcripts).



                                                          - 21 -
         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 23 of 61



Counts 1 and 3 to the grand jury.12 To be sure, if the government prosecutors did in fact mislead

and wrongfully instruct the Grand Jury as to Counts 1 and 3, those charges should be dismissed

for the reasons outlined above.

IV.      CONCLUSION

         For all these reasons, State’s Attorney Mosby requests that this Court (a) dismiss Counts 1

and 3 of the Superseding Indictment, or alternatively (b) order the production of the grand jury

transcripts containing the instructions of law concerning Counts 1 and 3 that were provided to the

grand jury(ies) who returned the indictment and superseding indictment

         A Proposed Order is attached.


Dated: June 1, 2022                           Respectfully Submitted,




                                               A. Scott Bolden (admitted pro hac vice)
                                               Rizwan A. Qureshi (admitted pro hac vice)
                                               Reed Smith LLP
                                               1301 K Street, N.W.
                                               Suite 1000 - East Tower
                                               Washington, D.C. 20005-3373
                                               Telephone: +1 202 414 9200
                                               Facsimile: +1 202 414 9299
                                               RQureshi@ReedSmith.com
                                               ABolden@ReedSmith.com

                                               Kelley Miller (admitted pro hac vice)
                                               Reed Smith LLP
                                               7900 Tysons One Place, Suite 500
                                               McLean, Virginia 22102
                                               Telephone: + 1 703 641 4200
                                               Facsimile: +1 703 641 4340
                                               KMiller@ReedSmith.com

                                               Anthony R. Todd (admitted pro hac vice)
                                               Reed Smith LLP
12
  Alternatively, the Court should order the in-camera production of the grand jury transcripts to determine the extent
to which the material should be disclosed to the defense. Stevens, 771 F. Supp. 2d at 564 (first ordering in-camera
review of grand jury minutes, then disclosing excerpts necessary to allow for further briefing on whether the grand
jury was properly instructed on the law.)


                                                       - 22 -
Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 24 of 61



                         10 South Wacker Drive
                         40th Floor
                         Chicago, IL 60606-7507
                         Telephone: + 312.207.1000
                         Facsimile: + 312.207.6400
                         ATodd@ReedSmith.com

                         Gary E. Proctor (Bar No. 27936)
                         Law Offices of Gary E. Proctor, LLC
                         8 E. Mulberry Street
                         Baltimore, Maryland 21202
                         Telephone: (410) 444-1500
                         garyeproctor@gmail.com

                         Lucius T. Outlaw III (Bar No. 20677)
                         Outlaw PLLC
                         1351 Juniper St. NW
                         Washington, DC 20012
                         Telephone: (202) 997-3452
                         loutlaw3@outlawpllc.com

                         Counsel for Defendant Marilyn J. Mosby




                               - 23 -
      Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 25 of 61



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

              v.                              Case No. 22-cr-00007-LKG-1

 MARILYN J. MOSBY,

                     Defendant



                                  PROPOSED ORDER

      AND NOW, this ________ day of ____, 2022, upon consideration of Defendant Marilyn

Mosby’s Motion to Dismiss Counts 1 and 3 of the Indictment, or Alternatively, to Compel

Production of the Instructions of Law Provided to the Grand Jury for Counts 1 and 3, it is

HEREBY ORDERED that said motion is GRANTED, and that Counts 1 and 3 of the

Superseding Indictment are DISMISSED.


                                                       BY THE COURT:


                                                                                   ,    J.

                                                       Judge Lydia K. Griggsby
Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 26 of 61




          EXHIBIT 1
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 27 of 61



Guidance for Coronavirus-Related Distributions and Loans from
Retirement Plans Under the CARES Act

Notice 2020-50


PURPOSE

        This notice provides guidance relating to the application of section 2202 of
the Coronavirus Aid, Relief, and Economic Security Act, Pub. L. 116-136, 134
Stat. 281 (2020) (CARES Act) for qualified individuals and eligible retirement
plans. The CARES Act was enacted on March 27, 2020. Under section 2202 of
the CARES Act, qualified individuals receive favorable tax treatment with respect
to distributions from eligible retirement plans that are coronavirus-related
distributions. A coronavirus-related distribution is not subject to the 10%
additional tax under § 72(t) of the Internal Revenue Code (Code) (including the
25% additional tax under § 72(t)(6) for certain distributions from SIMPLE IRAs),
generally is includible in income over a 3-year period, and, to the extent the
distribution is eligible for tax-free rollover treatment and is contributed to an
eligible retirement plan within a 3-year period, will not be includible in income.
Section 2202 of the CARES Act also increases the allowable plan loan amount
under § 72(p) of the Code and permits a suspension of payments for plan loans
outstanding on or after March 27, 2020, that are made to qualified individuals.
The guidance in this notice is intended to assist employers and plan
administrators, trustees and custodians, and qualified individuals in applying
section 2202 of the CARES Act, including by providing guidance on how plans
may report coronavirus-related distributions and how individuals may report
these distributions on their individual federal income tax returns.

BACKGROUND

A. Distributions

        Under § 402(c)(8), an eligible retirement plan includes an individual
retirement arrangement (IRA) under § 408(a) or (b), a qualified plan under
§ 401(a), an annuity plan under § 403(a), a § 403(b) plan, and a governmental
deferred compensation plan under § 457(b). Distributions from these plans
generally are includible in the distributee’s gross income in the year of the
distribution. For example, for qualified plans, § 402(a) provides that any amount
actually distributed to a distributee is taxable to the distributee in the taxable year
of the distribution under § 72. Similar rules apply to § 403(b) plans under
§ 403(b)(1), governmental § 457(b) plans under § 457(a), and IRAs under
§ 408(d)(1).

      Section 402(c)(4) provides that any distribution of all or a portion of the
balance to the credit of an employee under a qualified plan is an eligible rollover
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 28 of 61



distribution with certain exceptions. These exceptions include substantially equal
periodic payments over a specified period of at least 10 years, or for the life or
the life expectancy of the employee (or the employee and the employee’s
designated beneficiary); minimum distributions required under § 401(a)(9); and
any distribution that is made upon the hardship of an employee. This same
definition of eligible rollover distribution applies to distributions from § 403(b)
plans under § 403(b)(8) and governmental § 457(b) plans under § 457(e)(16).
Generally, any distribution from an IRA is eligible for rollover except a required
minimum distribution or certain distributions from inherited IRAs. Section 2203 of
the CARES Act provides that, for eligible retirement plans other than defined
benefit plans, no minimum distributions under § 401(a)(9) are required for 2020.

        Under § 401(a)(31)(A), if a distributee elects to have an eligible rollover
distribution paid directly to an eligible retirement plan and specifies the eligible
retirement plan to receive the distribution, a qualified plan must pay the
distribution to that eligible retirement plan in a direct rollover. Similar rules apply
to § 403(b) plans under § 403(b)(10) and governmental § 457(b) plans under
§ 457(d)(1).

        Q&A-14 of § 1.401(a)(31)-1 provides that if a plan accepts an invalid
rollover contribution, for purposes of applying the qualification requirements to
the receiving plan, the contribution will be treated as if it were a valid rollover
contribution if two conditions are satisfied. First, when accepting the amount
from the employee as a rollover contribution, the plan administrator of the
receiving plan reasonably concludes that the contribution is a valid rollover
contribution. Second, if the plan administrator later determines that the rollover
contribution was an invalid rollover contribution, any amount attributable to the
invalid rollover contribution (including earnings) must be distributed to the
employee within a reasonable amount of time after the determination.

        Under § 402(c), if an eligible rollover distribution is contributed to an
eligible retirement plan in a direct rollover or within 60 days from the date of
distribution as a rollover contribution, the amount rolled over is not includible in
the distributee’s gross income. In certain situations, the 60-day rollover period is
extended; for example, under § 402(c)(3), the rollover period for qualified plan
loan offsets is extended to the federal income tax return deadline for the year of
the distribution.

        Section 401(k)(2)(B)(i) generally provides that amounts attributable to
elective contributions under a qualified cash or deferred arrangement may not be
distributable to participants or beneficiaries earlier than severance from
employment, death or disability, plan termination, attainment of age 59½,
hardship of the employee, entitlement to a qualified reservist distribution, or, for
amounts held in lifetime income investments, 90 days prior to the date that the
lifetime income investment is no longer held by the arrangement. Similar rules




                                           2
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 29 of 61



apply to custodial accounts under § 403(b)(7)(A)(i), to annuity contracts under
§ 403(b)(11), and to governmental § 457(b) plans under § 457(d)(1)(A).

        Section 72(t)(1) imposes an additional tax on early distributions from
eligible retirement plans (other than governmental § 457(b) plans, unless a
distribution is attributable to an amount that was transferred to the § 457(b) plan
from a plan that was subject to § 72(t)). In general, this additional tax is equal to
10% of the portion of the distribution that is includible in income. For any amount
distributed from a SIMPLE IRA during the 2-year period described in § 72(t)(6),
the rate of the additional tax is increased from 10% to 25%. Section 72(t)(2)
provides a number of exceptions to this additional tax, including, for example,
exceptions for distributions made on or after the employee attains age 59½,
distributions made to a beneficiary on or after the employee’s death, distributions
made because of the employee’s disability, and distributions that are part of
substantially equal periodic payments made over the employee’s life or life
expectancy.

        Section 402(f) provides that a plan is required to provide a distributee,
within a reasonable period of time before an eligible rollover distribution is made,
a written explanation of the distributee’s rollover rights and the tax and other
potential consequences of the distribution or rollover.

B. Plan loans

        Section 72(p) imposes certain requirements relating to plan loans. Unless
these requirements are satisfied, an amount received by a participant as a loan is
treated as having been received as a distribution from the plan (deemed
distribution). Deemed distributions are includible in income and are subject to
the 10% additional tax under § 72(t), unless an exception applies.

        Under § 72(p)(2)(A), a plan loan (when added to the outstanding balance
of all other loans outstanding) must not exceed the lesser of (1) $50,000 reduced
by the excess of the highest outstanding balance of loans from the plan during
the 1-year period ending on the day before the date on which the loan is made
over the outstanding balance of loans from the plan on the date that the loan is
made, or (2) the greater of $10,000 or one-half of the present value of the
participant’s nonforfeitable accrued benefit under the plan. Section 72(p)(2)(B)
provides that a loan must be repaid within 5 years. However, an exception to the
5-year repayment rule applies for loans used to acquire any dwelling unit that will
be used (determined at the time the loan is made) as the participant’s principal
residence. Section 72(p)(2)(C) requires substantially level amortization of a plan
loan (with payments not less frequently than quarterly) over the term of the loan.

      Q&A-10(a) of § 1.72(p)-1 provides that the failure to make any installment
payment when due, in accordance with the terms of a loan, violates § 72(p)(2)(C)
and, accordingly, results in a deemed distribution at the time of the failure.



                                          3
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 30 of 61



However, the plan administrator may allow a cure period, and § 72(p)(2)(C) will
not be considered to have been violated if the installment payment is made not
later than the end of the cure period, which cannot continue beyond the last day
of the calendar quarter following the calendar quarter in which the required
installment payment was due. If there is a failure to pay the installment
payments required under the terms of the loan (taking into account any cure
period allowed under Q&A-10(a)), then the amount of the deemed distribution
equals the entire outstanding balance of the loan (including accrued interest) at
the time of the failure. Under Q&A-13(b) of § 1.72(p)-1 and Q&A-9(b) of
§ 1.402(c)-2, a distribution of a plan loan offset amount occurs when, under the
terms governing a plan loan, the accrued benefit of a participant or beneficiary is
reduced (or offset) in order to repay the loan (including the enforcement of the
plan’s security interest in the accrued benefit). In the event of a plan loan offset,
including a qualified plan loan offset described in § 402(c)(3)(C), the amount of
the account balance that is offset against the loan is an actual distribution, not a
deemed distribution.

SECTION 1. CORONAVIRUS-RELATED DISTRIBUTIONS

A. Special tax treatment for coronavirus-related distributions

        Section 2202(a) of the CARES Act provides for special tax treatment for a
coronavirus-related distribution. The section provides an exception to the 10%
additional tax under § 72(t) of the Code (including the 25% additional tax under
§ 72(t)(6) for certain distributions from SIMPLE IRAs), allows the distribution to
be included in income ratably over 3 years, and provides that the distribution will
be treated as though it were paid in a direct rollover to an eligible retirement plan
if the distribution is eligible for tax-free rollover treatment and is recontributed to
an eligible retirement plan within the 3-year period beginning on the day after the
date on which the distribution was received. The section also permits special
treatment for coronavirus-related distributions under employer retirement plans
(eligible retirement plans other than IRAs), as described in section 2 of this
notice.

B. Definition of qualified individual

       Pursuant to section 2202(a)(4)(A)(ii) of the CARES Act, a qualified
individual for purposes of this notice is an individual:

          •   who is diagnosed with the virus SARS-CoV-2 or with coronavirus
              disease 2019 (referred to collectively in this notice as COVID-19)
              by a test approved by the Centers for Disease Control and
              Prevention (including a test authorized under the Federal Food,
              Drug, and Cosmetic Act);

          •   whose spouse or dependent (as defined in section 152 of the


                                           4
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 31 of 61



              Code) is diagnosed with COVID-19 by a test approved by the
              Centers for Disease Control and Prevention (including a test
              authorized under the Federal Food, Drug, and Cosmetic Act; or

          •   who experiences adverse financial consequences as a result of:

                 o the individual being quarantined, being furloughed or laid off,
                   or having work hours reduced due to COVID-19;

                 o the individual being unable to work due to lack of childcare
                   due to COVID-19; or

                 o closing or reducing hours of a business owned or operated
                   by the individual due to COVID-19.

        In addition, pursuant to the authority of the Secretary to issue guidance to
provide for other factors under section 2202(a)(4)(A)(ii)(III) of the CARES Act, a
qualified individual for purposes of this notice is an individual who experiences
adverse financial consequences as a result of:

          •   the individual having a reduction in pay (or self-employment
              income) due to COVID-19 or having a job offer rescinded or start
              date for a job delayed due to COVID-19;

          •   the individual’s spouse or a member of the individual’s household
              (as defined below) being quarantined, being furloughed or laid off,
              or having work hours reduced due to COVID-19, being unable to
              work due to lack of childcare due to COVID-19, having a reduction
              in pay (or self-employment income) due to COVID-19, or having a
              job offer rescinded or start date for a job delayed due to COVID-19;
              or

          •   closing or reducing hours of a business owned or operated by the
              individual’s spouse or a member of the individual’s household due
              to COVID-19.

For purposes of applying these additional factors, a member of the individual’s
household is someone who shares the individual’s principal residence.

C. Definition of coronavirus-related distribution

        Section 2202(a)(4)(A) of the CARES Act defines a coronavirus-related
distribution as any distribution from an eligible retirement plan made on or after
January 1, 2020, and before December 31, 2020, to a qualified individual.
Section 2202(a)(2) of the CARES Act limits the amount of aggregate distributions



                                         5
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 32 of 61



from all eligible retirement plans that can be treated as coronavirus-related
distributions to no more than $100,000.

        In general, a qualified individual is permitted to designate a distribution
described in the preceding paragraph as a coronavirus-related distribution. This
designation is permitted to be made with respect to any distribution to a qualified
individual that would meet the requirements of a coronavirus-related distribution
without regard to whether the plan treated the distribution as a coronavirus-
related distribution. Thus, periodic payments and distributions that would have
been required minimum distributions but for section 2203 of the CARES Act,
received by a qualified individual from an eligible retirement plan on or after
January 1, 2020, and before December 31, 2020, are permitted to be treated as
coronavirus-related distributions and, therefore, permitted to be included in
income ratably over 3 years. Similarly, any distribution received by a qualified
individual as a beneficiary can be treated as a coronavirus-related distribution. In
addition, a reduction or offset of a qualified individual’s account balance in order
to repay a plan loan, as described in Q&A-9(b) of § 1.402(c)-2, including a
qualified plan loan offset, is permitted to be treated as a coronavirus-related
distribution. See section 1.D of this notice for rules relating to which coronavirus-
related distributions are permitted to be recontributed to an eligible retirement
plan.

        However, any amount described in Q&A-4 of §1.402(c)-2 is not permitted
to be treated as a coronavirus-related distribution. Thus, the following amounts
are not coronavirus-related distributions: corrective distributions of elective
deferrals and employee contributions that are returned to the employee (together
with the income allocable thereto) in order to comply with the § 415 limitations,
excess elective deferrals under § 402(g), excess contributions under § 401(k),
and excess aggregate contributions under § 401(m); loans that are treated as
deemed distributions pursuant to § 72(p); dividends paid on applicable employer
securities under § 404(k); the costs of current life insurance protection; prohibited
allocations that are treated as deemed distributions pursuant to § 409(p);
distributions that are permissible withdrawals from an eligible automatic
contribution arrangement within the meaning of § 414(w); and distributions of
premiums for accident or health insurance under § 1.402(a)-1(e)(1)(i).

       The definition of a coronavirus-related distribution under section
2202(a)(4) of the CARES Act does not limit these distributions to amounts
withdrawn solely to meet a need arising from COVID-19. Thus, for example, for
an individual who is a qualified individual as a result of experiencing adverse
financial consequences as described above, coronavirus-related distributions are
permitted without regard to the qualified individual’s need for funds, and the
amount of the distribution is not required to correspond to the extent of the
adverse financial consequences experienced by the qualified individual.




                                          6
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 33 of 61



        As explained in section 2.C of this notice, an employer retirement plan
also is permitted, but not required, to treat a plan distribution meeting the
conditions described in this section 1.C as a coronavirus-related distribution. It is
possible that a qualified individual’s designation of a coronavirus-related
distribution may be different from the employer retirement plan’s treatment of the
distribution. This different treatment could occur, for example, if a qualified
individual has more than one plan distribution that meets the requirements of a
coronavirus-related distribution, but one of those distributions occurs before the
effective date of the plan amendment providing for coronavirus-related
distributions. The different treatment could also occur, for example, if a qualified
individual has distributions from more than one eligible retirement plan, and the
aggregate amount of those distributions exceeds $100,000.

D. Certain coronavirus-related distributions are permitted to be recontributed

       Coronavirus-related distributions may be included in income ratably over 3
years and are not subject to the 10% additional tax under § 72(t). However, only
a coronavirus-related distribution that is eligible for tax-free rollover treatment
under § 402(c), 403(a)(4), 403(b)(8), 408(d)(3), or 457(e)(16) is permitted to be
recontributed to an eligible retirement plan, and that recontribution will be treated
as having been made in a trustee-to-trustee transfer to that eligible retirement
plan. Any coronavirus-related distribution (whether from an employer retirement
plan or an IRA) paid to a qualified individual as a beneficiary of an employee or
IRA owner (other than the surviving spouse of the employee or IRA owner)
cannot be recontributed.

        In general, a distribution from an employer retirement plan made on
account of hardship is not an eligible rollover distribution. However, if the
distribution satisfies the requirements under section 1.C of this notice, then,
except as otherwise provided in section 6 of this notice (relating to nonqualified
deferred compensation plans), the distribution is not treated as made on account
of hardship for purposes of this notice and, thus, any portion of the distribution is
permitted to be recontributed to an eligible retirement plan.

      See section 4.C of this notice for rules relating to recontributions of
coronavirus-related distributions.

SECTION 2. GUIDANCE FOR EMPLOYER RETIREMENT PLANS MAKING
CORONAVIRUS-RELATED DISTRIBUTIONS

A. Coronavirus-related distributions generally are treated as satisfying certain
plan distribution restrictions

      Under section 2202(a)(6) of the CARES Act, a distribution designated as a
coronavirus-related distribution by an employer retirement plan is treated as
meeting the distribution restrictions for qualified cash or deferred arrangements



                                          7
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 34 of 61



under § 401(k)(2)(B)(i), custodial accounts under § 403(b)(7)(A)(i), annuity
contracts under § 403(b)(11), governmental deferred compensation plans under
§ 457(d)(1)(A), and the Thrift Savings Plan under 5 U.S.C. 8433(h)(1). Thus, for
example, an employer may expand the distribution options under its plan to allow
an amount attributable to an elective, qualified nonelective, qualified matching, or
safe harbor contribution under a qualified cash or deferred arrangement to be
distributed as a coronavirus-related distribution even though it is distributed
before an otherwise permitted distributable event, such as severance from
employment, disability, or attainment of age 59½.

        Except as described above, section 2202 of the CARES Act does not
change the rules for when plan distributions are permitted to be made from
employer retirement plans. Thus, for example, a qualified plan that is a pension
plan (such as a money purchase pension plan) is not permitted to make a
distribution before an otherwise permitted distributable event merely because the
distribution, if made, would qualify as a coronavirus-related distribution. Further,
a pension plan is not permitted to make a distribution under a distribution form
that is not a qualified joint and survivor annuity without spousal consent merely
because the distribution, if made, could be treated as a coronavirus-related
distribution.

B. Direct rollover, § 402(f) notice, and 20% withholding requirements are not
applicable to coronavirus-related distributions

        If a distribution is treated as a coronavirus-related distribution by an
employer retirement plan, the rules for eligible rollover distributions under
§§ 401(a)(31), 402(f), and 3405 are not applicable to the distribution. Thus, the
plan is not required to offer the qualified individual a direct rollover with respect to
the distribution. In addition, the plan administrator is not required to provide a
§ 402(f) notice. Finally, the plan administrator or payor of the coronavirus-related
distribution is not required to withhold an amount equal to 20% of the distribution,
as is usually required under § 3405(c)(1). However, a coronavirus-related
distribution is subject to the voluntary withholding requirements of § 3405(b) and
§ 35.3405-1T.

C. Treatment of distributions as coronavirus-related distributions

        An employer is permitted to choose whether, and to what extent, to treat
distributions under its plans as coronavirus-related distributions (as well as
whether, and to what extent, to apply coronavirus-related plan loan rules
described in section 5 of this notice). Thus, for example, an employer may
choose to provide for coronavirus-related distributions but choose not to change
its plan loan provisions or loan repayment schedules. Further, the employer (or
plan administrator) is permitted to develop any reasonable procedures for
identifying which distributions are treated as coronavirus-related distributions
under its retirement plans. However, if, under an employer retirement plan, any



                                           8
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 35 of 61



distribution of an amount subject to § 401(k)(2)(B)(i), 403(b)(7)(A)(i), 403(b)(11)
or 457(d)(1)(A) is treated as a coronavirus-related distribution, the plan must be
consistent in its treatment of similar distributions. Accordingly, the amount of the
distribution must be taken into account in determining the $100,000 limit on
coronavirus-related distributions made under all the retirement plans maintained
by the employer. Even if, under a plan, a distribution is not treated as
coronavirus-related, a qualified individual may treat a distribution that meets the
requirements of section 1.C of this notice as a coronavirus-related distribution on
the individual's federal income tax return.

D. Distribution limits on coronavirus-related distributions

       The total amount of distributions treated by an employer as coronavirus-
related distributions under all its retirement plans with respect to a qualified
individual is not permitted to exceed $100,000. For purposes of this rule, the
term “employer” means the employer maintaining the plan and those employers
required to be aggregated with the employer under § 414(b), (c), (m), or (o).
However, a plan will not fail to satisfy any requirement under the Code merely
because a qualified individual’s total coronavirus-related distributions exceed
$100,000 taking into account distributions from IRAs or other eligible retirement
plans maintained by unrelated employers.

E. Reliance on certifications

        The administrator of an eligible retirement plan may rely on an individual’s
certification that the individual satisfies the conditions to be a qualified individual
in determining whether a distribution is a coronavirus-related distribution, unless
the administrator has actual knowledge to the contrary. The requirement that an
administrator not have “actual knowledge” that is contrary to an individual’s
certification does not mean that the administrator has an obligation to inquire into
whether an individual has satisfied the conditions described in section 1.B of this
notice to be a qualified individual. Rather, this requirement is limited to situations
in which the administrator already possesses sufficiently accurate information to
determine the veracity of a certification.

       The following is an example of an acceptable certification:

              Name: _______________________ (and other identifying
              information requested by the employer for administrative purposes).

              I certify that I meet at least one of the following conditions: (1) I was
              diagnosed with the virus SARS-CoV-2 or with coronavirus disease
              2019 (referred to collectively as COVID-19) by a test approved by
              the Centers for Disease Control and Prevention (including a test
              authorized under the Federal Food, Drug, and Cosmetic Act);
              (2) my spouse or my dependent was diagnosed with COVID-19 by



                                           9
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 36 of 61



              a test approved by the Centers for Disease Control and Prevention
              (including a test authorized under the Federal Food, Drug, and
              Cosmetic Act); or (3) I have experienced adverse financial
              consequences because: (i) I, my spouse, or a member of my
              household was quarantined, furloughed or laid off, or had work
              hours reduced due to COVID-19; (ii) I, my spouse, or a member of
              my household was unable to work due to lack of childcare due to
              COVID-19; (iii) a business owned or operated by me, my spouse,
              or a member of my household closed or reduced hours due to
              COVID-19; or (iv) I, my spouse, or a member of my household had
              a reduction in pay (or self-employment income) due to COVID-19 or
              had a job offer rescinded or start date for a job delayed due to
              COVID-19.

              Signature: ______________________

        Although an administrator may rely on an individual’s certification in
making and reporting a distribution, the individual is entitled to treat the
distribution as a coronavirus-related distribution for purposes of the individual’s
federal income tax return only if the individual actually meets the eligibility
requirements for that treatment under section 1 of this notice.

F. An employer retirement plan will be treated as operating in accordance with
its terms if certain requirements are satisfied

         An employer retirement plan will not be treated as failing to operate in
accordance with its terms merely because the plan implements the provisions of
section 2202 of the CARES Act if the employer amends its plan by the dates
described in this paragraph. For employer retirement plans other than
governmental plans under § 414(d) of the Code, the date by which any plan
amendment to reflect the CARES Act is required to be made is the last day of the
first plan year beginning on or after January 1, 2022. For governmental plans
under § 414(d) of the Code, the date by which any plan amendment to reflect the
CARES Act is required to be made is the last day of the first plan year beginning
on or after January 1, 2024. Pursuant to the authority of the Secretary under
section 2202(c)(2) of the CARES Act, these dates may be extended in future
guidance.

SECTION 3. GUIDANCE FOR ELIGIBLE RETIREMENT PLANS MAKING OR
ACCEPTING RECONTRIBUTION OF CORONAVIRUS-RELATED
DISTRIBUTIONS

      This section provides guidance for eligible retirement plans (that is,
employer retirement plans and IRAs) making, or accepting recontribution of,
coronavirus-related distributions.




                                         10
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 37 of 61



A. Tax reporting on coronavirus-related distributions

        An eligible retirement plan must report the payment of a coronavirus-
related distribution to a qualified individual on Form 1099-R, Distributions from
Pensions, Annuities, Retirement or Profit-Sharing Plans, IRAs, Insurance
Contracts, etc. This reporting is required even if the qualified individual
recontributes the coronavirus-related distribution to the same eligible retirement
plan in the same year. If a payor is treating the payment as a coronavirus-related
distribution and no other appropriate code applies, the payor is permitted to use
distribution code 2 (early distribution, exception applies) in box 7 of Form 1099-R.
However, a payor also is permitted to use distribution code 1 (early distribution,
no known exception) in box 7 of Form 1099-R.

B. Accepting recontributions of coronavirus-related distributions

        In general, a qualified individual who receives a coronavirus-related
distribution that is eligible for tax-free rollover treatment is permitted to
recontribute, at any time in a 3-year period, any portion of the distribution to an
eligible retirement plan that is permitted to accept eligible rollover contributions.
The relief in Q&A-14 of § 1.401(a)(31)-1 applies to an employer retirement plan
accepting recontributions of coronavirus-related distributions. In order to obtain
the relief described in Q&A-14 of § 1.401(a)(31)-1, a plan administrator accepting
the recontribution of a coronavirus-related distribution must reasonably conclude
that the recontribution is eligible for direct rollover treatment under section
2202(a)(3) of the CARES Act and that the recontribution is made in accordance
with the rules under section 4.C of this notice. In making this determination, the
rule in section 2.E of this notice applies. Thus, the administrator of an eligible
retirement plan may rely on an individual’s certification that the individual satisfies
the conditions to be a qualified individual in determining whether a distribution is
a coronavirus-related distribution, unless the administrator has actual knowledge
to the contrary.

       In general, it is anticipated that eligible retirement plans will accept
recontributions of coronavirus-related distributions, which are to be treated as
rollover contributions. However, eligible retirement plans generally are not
required to accept rollover contributions. For example, if a plan does not accept
any rollover contributions, the plan is not required to change its terms or
procedures to accept recontributions of coronavirus-related distributions.

SECTION 4. GUIDANCE FOR INDIVIDUALS RECEIVING CORONAVIRUS-
RELATED DISTRIBUTIONS UNDER SECTION 2202 OF THE CARES ACT

       This section provides guidance for qualified individuals requesting and
receiving coronavirus-related distributions. A qualified individual receiving a
coronavirus-related distribution is entitled to the following favorable tax treatment
with respect to the distribution by reporting the distribution on the individual’s



                                          11
      Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 38 of 61



federal income tax return for 2020 and on Form 8915-E, Qualified 2020 Disaster
Retirement Plan Distributions and Repayments (or if there is no federal income
tax return for 2020, by filing just Form 8915-E). 1 First, the 10% additional tax
under § 72(t) (including the 25% additional tax under § 72(t)(6) for certain
distributions from SIMPLE IRAs) does not apply to any coronavirus-related
distribution. Second, a coronavirus-related distribution is permitted to be
included in income ratably over 3 years. Third, a qualified individual is permitted
to recontribute any portion of a coronavirus-related distribution that is eligible for
tax-free rollover treatment to an eligible retirement plan within the 3-year period
beginning on the day after the date on which the distribution was received, and
the recontribution will be treated as if it were paid in a trustee-to-trustee transfer
to an eligible retirement plan. See section 1.D of this notice for rules relating to
which coronavirus-related distributions are permitted to be recontributed.
Qualified individuals will use Form 8915-E to report any recontribution made
during the taxable year and to determine the amount of the coronavirus-related
distribution includible in income for the taxable year.

A. Election to designate a distribution as a coronavirus-related distribution

        A qualified individual is permitted to designate any distribution described in
section 1.C of this notice as a coronavirus-related distribution provided the total
amount treated by the individual as coronavirus-related distributions from all
eligible retirement plans does not exceed $100,000.

        Example 1. If a qualified individual receives a distribution of $50,000 in
August of 2020 and a distribution of $75,000 in September of 2020 and both
distributions satisfy the definition of a coronavirus-related distribution, only
$100,000 of the $125,000 received by the qualified individual can be treated as a
coronavirus-related distribution. Thus, the individual can only treat $100,000 of
the August and September distributions as coronavirus-related distributions on
the individual’s 2020 federal income tax return. Assuming no § 72(t)(2) exception
applies, the remaining $25,000 of the distribution is an early distribution that is
subject to the 10% additional tax. This amount must be included on the
individual’s 2020 federal income tax return and will not be eligible for 3-year
recontribution to an eligible retirement plan.

        Example 2. A section 401(k) plan distributes $35,000 to a qualified
individual on December 1, 2020. The qualified individual also receives a
distribution from the individual’s IRA on December 1, 2020, of $15,000. The
individual is permitted to treat both the $35,000 from the plan and the $15,000
from the IRA as coronavirus-related distributions on the individual’s 2020 federal
income tax return.

B. Income inclusion for coronavirus-related distributions


1   Form 8915-E is expected to be available before the end of 2020.


                                                12
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 39 of 61



        There are two methods for a qualified individual to include the taxable
portion of a coronavirus-related distribution in income. A qualified individual who
receives a coronavirus-related distribution is permitted to include the taxable
portion of the distribution in income ratably over a 3-year period that begins in the
year of the distribution. Alternatively, a qualified individual is permitted to elect
out of the 3-year ratable income inclusion and include the entire amount of the
taxable portion of the distribution in income in the year of the distribution. This
election cannot be made or changed after the timely filing of the individual’s
federal income tax return (including extensions) for the year of the distribution.
All coronavirus-related distributions received in a taxable year must be treated
consistently (either all distributions must be included in income over a 3-year
period or all distributions must be included in income in the current year).

        Example. Taxpayer A receives a $30,000 distribution from his or her IRA
on October 1, 2020. Taxpayer A is a qualified individual and elects to treat the
distribution as a coronavirus-related distribution. Taxpayer A uses the 3-year
ratable income inclusion for the $30,000 distribution. Taxpayer A should include
$10,000 in income with respect to the coronavirus-related distribution on each of
the individual’s 2020, 2021, and 2022 federal income tax returns.

C. Tax treatment of recontributions of coronavirus-related distributions

       If a coronavirus-related distribution is eligible for tax-free rollover treatment
(taking into account section 1.D of this notice), a qualified individual is permitted,
at any time in the 3-year period beginning the day after the date of a coronavirus-
related distribution, to recontribute any portion of the distribution, but not an
amount in excess of the amount of the distribution, to an eligible retirement plan.
A recontribution of a coronavirus-related distribution will not be treated as a
rollover contribution for purposes of the one-rollover-per-year limitation under
§ 408(d)(3)(B).

D. Tax treatment of recontributions of a coronavirus-related distribution made to
a taxpayer who uses the 1-year income inclusion method

        If a qualified individual elects to include all coronavirus-related
distributions received in a year in gross income for that year and recontributes
any portion of the coronavirus-related distributions to an eligible retirement plan
at any time during the 3-year recontribution period, then the amount of the
recontribution will reduce the amount of the coronavirus-related distribution
included in gross income for the year of the distribution. The qualified individual
will report the amount of the recontribution on Form 8915-E (which will be filed
with the individual’s federal income tax return, if applicable).

        If a qualified individual includes a coronavirus-related distribution in gross
income in the year of the distribution and recontributes the distribution to an
eligible retirement plan after the timely filing of the individual’s federal income tax



                                          13
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 40 of 61



return for the year of the distribution (that is, after the due date, including
extensions), the individual will need to file an amended federal income tax return
for the year of the distribution. The qualified individual will need to file a revised
Form 8915-E (with his or her amended federal income tax return) to report the
amount of the recontribution and should reduce his or her gross income by the
amount of the recontribution, but not in an amount exceeding the amount of the
coronavirus-related distribution.

        Example 1. Taxpayer B receives a $45,000 distribution from a § 403(b)
plan on November 1, 2020. Taxpayer B is a qualified individual and treats the
distribution as a coronavirus-related distribution. Taxpayer B receives no other
coronavirus-related distribution from any eligible retirement plan. Taxpayer B
recontributes $45,000 to an IRA on March 31, 2021. Taxpayer B reports the
recontribution on Form 8915-E and files the 2020 federal income tax return on
April 10, 2021. For Taxpayer B, no portion of the coronavirus-related distribution
is includible as income for the 2020 tax year.

         Example 2. The facts are the same as in Example 1 of this section 4.D,
except that Taxpayer B timely requests an extension of time to file the 2020
federal income tax return and makes a recontribution on August 2, 2021, before
filing the 2020 federal income tax return. Taxpayer B files the 2020 federal
income tax return on August 10, 2021. As in Example 1, no portion of the
coronavirus-related distribution is includible in income for the 2020 tax year
because Taxpayer B made the recontribution before the timely filing of the 2020
federal income tax return.

       Example 3. Taxpayer C receives a $15,000 distribution from a
governmental § 457(b) plan on March 30, 2020. Taxpayer C is a qualified
individual and treats the distribution as a coronavirus-related distribution.
Taxpayer C elects out of the 3-year ratable income inclusion on Form 8915-E
and includes the entire $15,000 in gross income for the 2020 taxable year. On
December 31, 2022, Taxpayer C recontributes $15,000 to the § 457(b) plan.
Taxpayer C will need to file an amended federal income tax return for the 2020
tax year to report the amount of the recontribution and reduce the gross income
by $15,000 with respect to the coronavirus-related distribution included on the
2020 original federal income tax return.

E. Tax treatment for year of recontribution of a coronavirus-related distribution
made to a taxpayer who uses the 3-year ratable income inclusion method

        As explained above, a qualified individual is permitted to include a
coronavirus-related distribution in income ratably over a 3-year period. If a
qualified individual includes a coronavirus-related distribution ratably over a 3-
year period and the individual recontributes any portion of the coronavirus-related
distribution to an eligible retirement plan at any date before the timely filing of the
individual’s federal income tax return (that is, by the due date, including



                                          14
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 41 of 61



extensions) for a tax year in the 3-year period, the amount of the recontribution
will reduce the ratable portion of the coronavirus-related distribution that is
includible in gross income for that tax year. See section 4.F of this notice for
recontributions that affect income inclusion in other tax years.

        Example 1. Taxpayer D receives $75,000 from a section 401(k) plan on
December 1, 2020. Taxpayer D is a qualified individual and treats the $75,000
distribution as a coronavirus-related distribution. Taxpayer D uses the 3-year
ratable income inclusion method for the distribution. Taxpayer D makes one
recontribution of $25,000 to the section 401(k) plan on April 10, 2022. Taxpayer
D files the 2021 federal income tax return on April 15, 2022. Without the
recontribution, Taxpayer D should include $25,000 in income with respect to the
coronavirus-related distribution on each of D’s 2020, 2021, and 2022 federal
income tax returns. However, as a result of the recontribution to the section
401(k) plan, Taxpayer D should include $25,000 in income with respect to the
coronavirus-related distribution on the 2020 federal income tax return, $0 in
income with respect to the coronavirus-related distribution on the 2021 federal
income tax return, and $25,000 in income with respect to the coronavirus-related
distribution on the 2022 federal income tax return.

        Example 2. The facts are the same as in Example 1 of this section 4.E,
except that Taxpayer D recontributes $25,000 to the section 401(k) plan on
August 10, 2022. Taxpayer D files the 2021 federal income tax return on April
15, 2022, and does not request an extension of time to file that federal income
tax return. As a result of the recontribution to the section 401(k) plan, Taxpayer
D should include $25,000 in income with respect to the coronavirus-related
distribution on the 2020 federal income tax return, $25,000 in income with
respect to the coronavirus-related distribution on the 2021 federal income tax
return, and $0 in income with respect to the coronavirus-related distribution on
the 2022 federal income tax return.

F. Recontributions of a coronavirus-related distribution may be carried back or
forward when using the 3-year ratable income inclusion

       If a qualified individual using the 3-year ratable income inclusion method
recontributes an amount of a coronavirus-related distribution for a tax year in the
3-year period that exceeds the amount that is otherwise includible in gross
income for that tax year, as described in section 4.E of this notice, the excess
amount of the recontribution is permitted to be carried forward to reduce the
amount of the coronavirus-related distribution that is includible in gross income in
the next tax year in the 3-year period. Alternatively, the qualified individual is
permitted to carry back the excess amount of the recontribution to a prior taxable
year or years in which the individual included income attributable to a
coronavirus-related distribution. The individual will need to file an amended
federal income tax return for the prior taxable year or years to report the amount




                                        15
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 42 of 61



of the recontribution on Form 8915-E and reduce his or her gross income by the
excess amount of the recontribution.

        Example. Taxpayer E receives a distribution of $90,000 from his or her
IRA on November 15, 2020. Taxpayer E is a qualified individual and treats the
distribution as a coronavirus-related distribution. Taxpayer E ratably includes the
$90,000 distribution in income over a 3-year period. Without any recontribution,
Taxpayer E will include $30,000 in income with respect to the coronavirus-related
distribution on each of the 2020, 2021, and 2022 federal income tax returns.
Taxpayer E includes $30,000 in income with respect to the coronavirus-related
distribution on the 2020 federal income tax return. Taxpayer E then recontributes
$40,000 to an IRA on November 10, 2021 (and makes no other recontribution in
the 3-year period). Taxpayer E is permitted to do either of the following:

       Option 1. Taxpayer E includes $0 in income with respect to the
coronavirus-related distribution on the 2021 federal income tax return. Taxpayer
E carries forward the excess recontribution of $10,000 to 2022 and includes
$20,000 in income with respect to the coronavirus-related distribution on E’s
2022 federal income tax return.

        Option 2. Taxpayer E includes $0 in income with respect to the
coronavirus-related distribution on the 2021 tax return and $30,000 in income on
the 2022 federal income tax return. Taxpayer E also files an amended federal
income tax return for 2020 to reduce the amount included in income as a result of
the coronavirus-related distribution to $20,000 (that is, the $30,000 original
amount includible in income for 2020 minus the remaining $10,000 recontribution
that is not offset on either the 2021 or 2022 federal tax return).

G. Special rule for 3-year ratable income inclusion method for coronavirus-
related distributions

       If a qualified individual dies before the full taxable amount of the
coronavirus-related distribution has been included in gross income, then the
remainder must be included in gross income for the taxable year that includes
the individual’s death.

H. Coronavirus-related distributions will not be treated as a change in
substantially equal periodic payments

        In the case of an individual receiving substantially equal periodic
payments from an eligible retirement plan, the receipt of a coronavirus-related
distribution from that plan will not be treated as a change in substantially equal
payments as described in § 72(t)(4) merely because of the coronavirus-related
distribution.




                                         16
    Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 43 of 61



SECTION 5. APPLICATION OF SECTION 2202 OF THE CARES ACT TO
PLAN LOANS

        This section provides guidance regarding the application of section
2202(b) of the CARES Act to plan loans, including a safe harbor under which
suspensions of payments and extensions of loan terms will be treated as
satisfying section 2202(b)(2) of the CARES Act. As described in section 2.C of
this notice, an employer is permitted to choose whether, and to what extent, to
apply coronavirus-related plan loan rules described in this section (regardless of
how coronavirus-related distributions are treated).

A. Increase in the allowable loan amount

       Special rules apply to a loan made from a qualified employer plan (as
defined in § 1.72(p)-1, Q&A-2) to a qualified individual on or after March 27, 2020
(the date of enactment of the CARES Act) and before September 23, 2020. For
these loans, section 2202(b)(1) of the CARES Act changes the limits under
§ 72(p)(2)(A) of the Code. In applying § 72(p) to a plan loan, the $50,000
aggregate limit in § 72(p)(2)(A)(i) is increased to $100,000 and the rule in
§ 72(p)(2)(A)(ii) limiting the aggregate amount of loans to 50 percent of the
employee’s vested accrued benefit is increased to 100 percent of the employee’s
vested accrued benefit. 2

B. Suspension of payments and extension of term of loan

       A special rule applies if a qualified individual has an outstanding loan from
a qualified employer plan on or after March 27, 2020. Section 2202(b)(2) of the
CARES Act provides that, for purposes of § 72(p), in the case of a qualified
individual with a loan from a qualified employer plan outstanding on or after
March 27, 2020, if the due date pursuant to § 72(p)(2)(B) or (C) for any
repayment with respect to the loan occurs during the period beginning on March
27, 2020, and ending on December 31, 2020, the due date shall be delayed for 1
year. In addition, any subsequent repayments of the loan shall be adjusted
appropriately to reflect the delay and any interest accruing during the delay, and
the period of delay must be disregarded in determining the 5-year period and the
term of the loan under § 72(p)(2)(B) and (C). The effect of section 2202(b)(2) of
the CARES Act is to permit a delay in certain plan loan repayments without
causing the loans to violate § 72(p)(2)(B) and (C). It does not, however, require
a delay in plan loan repayments in order to satisfy § 72(p)(2)(B) and (C). Thus,
an employer is permitted to choose to allow this delay in loan repayments under
2 The Department of Labor has advised the Department of the Treasury and the IRS that it will
not treat any person as having violated the provisions of Title I of the Employee Retirement
Income Security Act (ERISA), including the adequate security and reasonably equivalent basis
requirements in ERISA section 408(b)(1) and 29 CFR 2550.408b-1, solely because the person
made a plan loan to a qualified individual during the period beginning on March 27, 2020, and
ending on September 22, 2020, in compliance with CARES Act section 2202(b)(1) and the
provisions of this notice. See EBSA Disaster Relief Notice 2020-01.


                                              17
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 44 of 61



its plan with respect to qualified individuals, and, if it does, there will not be a
deemed distribution to those individuals under § 72(p) due to the delay. For
example, each repayment that becomes due during the period from March 27,
2020, through December 31, 2020, may be delayed for up to 1 year and then
reamortized (taking into account interest) over a period that is up to 1 year longer
than the original term of the loan. Each reamortized repayment may then be
added to other reamortized repayments and to non-reamortized repayments to
construct an overall loan reamortization schedule.

        This notice provides a safe harbor for satisfying section 2202(b)(2) of the
CARES Act. Under this safe harbor, a qualified employer plan will be treated as
satisfying the requirements of § 72(p) pursuant to section 2202(b)(2) of the
CARES Act if a qualified individual’s obligation to repay a plan loan is suspended
under the plan for any period beginning not earlier than March 27, 2020, and
ending not later than December 31, 2020 (suspension period). The loan
repayments must resume after the end of the suspension period, and the term of
the loan may be extended by up to 1 year from the date the loan was originally
due to be repaid. If a qualified employer plan suspends loan repayments during
the suspension period, the suspension will not cause the loan to be deemed
distributed even if, due solely to the suspension, the term of the loan is extended
beyond 5 years. Interest accruing during the suspension period must be added
to the remaining principal of the loan. A plan satisfies these rules if the loan is
reamortized and repaid in substantially level installments over the remaining
period of the loan (that is, 5 years from the date of the loan, assuming that the
loan is not a principal residence loan, plus up to 1 year from the date the loan
was originally due to be repaid). If an employer, under its plan, chooses to
permit a suspension period that is less than the maximum suspension period
described above, the employer is permitted to extend the suspension period
subsequently, but not beyond December 31, 2020.

       Example applying the safe harbor. On April 1, 2020, a participant with a
nonforfeitable account balance of $40,000 borrowed $20,000 to be repaid in level
monthly installments of $368.33 each over 5 years, with the repayments to be
made by payroll withholding. The participant makes payments for 3 months
through June 30, 2020. The participant is a qualified individual (as described in
section 1.B of this notice). The participant’s employer takes action to suspend
payroll withholding repayments, for the period from July 1, 2020, through
December 31, 2020, for loans to qualified individuals that are outstanding on or
after March 27, 2020. Because the participant is a qualified individual, no further
repayments are made on the participant’s loan until January 1, 2021 (when the
balance is $19,477). At that time, repayments on the loan resume, with the
amount of each monthly installment reamortized to be $343.27 in order for the
loan to be repaid by March 31, 2026 (which is the date the loan originally would
have been fully repaid, plus 1 year).




                                        18
   Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 45 of 61



       The Department of the Treasury and the IRS recognize that there may be
additional reasonable, if more complex, ways to administer section 2202(b) of the
CARES Act. For example, in a plan with a suspension period beginning April 1,
2020, each repayment that becomes due during the suspension period may be
delayed to April 1, 2021 (the 1-year anniversary of the beginning of the
suspension period). After originally scheduled repayments for January through
March of 2021 are made, the outstanding balance of the loan on April 1, 2021,
including the delayed repayments with interest, may be reamortized over a
period that is up to 1 year longer than the original term of the loan.

C. Reliance on certifications

        The administrator of a qualified employer plan may rely on an individual’s
certification that the individual satisfies the conditions to be a qualified individual,
and therefore qualifies for the special treatment for loans under section 2202(b)
of the CARES Act, unless the administrator has actual knowledge to the contrary
under the standard described in section 2.E of this notice. See section 2.E of this
notice for an example of an acceptable certification.

SECTION 6. PERMITTED CANCELLATION OF DEFERRAL ELECTION
UNDER NONQUALIFIED DEFERRED COMPENSATION PLAN

        Under § 1.409A-3(j)(4)(viii), a nonqualified deferred compensation plan
subject to § 409A may provide for a cancellation of a service provider's deferral
election, or such a cancellation may be made, due to an unforeseeable
emergency or a hardship distribution pursuant to § 1.401(k)-1(d)(3). If a service
provider receives a distribution from an eligible retirement plan that constitutes a
coronavirus-related distribution, that distribution will be considered a hardship
distribution pursuant to § 1.401(k)-1(d)(3) for purposes of § 1.409A-3(j)(4)(viii).
As a result, a nonqualified deferred compensation plan may provide for a
cancellation of the service provider's deferral election, or such a cancellation may
be made, due to a coronavirus-related distribution described in section 1.C of this
notice. The deferral election must be cancelled, not merely postponed or
otherwise delayed.

DRAFTING INFORMATION

      The principal author of this notice is Jamie Dvoretzky of the Office of the
Associate Chief Counsel (Employee Benefits, Exempt Organizations, and
Employment Taxes). For further information regarding this notice, contact Ms.
Dvoretzky at (202) 317-4102 (not a toll-free number).




                                          19
Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 46 of 61




          EXHIBIT 2
                  Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 47 of 61
                                                           Nationwide Retirement Solutions
                                             457 Unforeseeable Emergency Distribution Form

Personal Information

 Plan Name:

 Participant Name:                                             SSN #:

 Mailing Address:                                              Date of Birth:

 City, State, & Zip Code:                                      Phone Number:

 Email Address:

 How would you like to be contacted if additional information is required?      c Telephone   c Email


Unforeseeable Emergency Details (Required)
Was the severe financial hardship a result of some unforeseeable circumstance arising as a result of events beyond the
control of you, your spouse, dependent or primary beneficiary?
c Yes		          c No        If no, STOP, do not submit your request. it does not qualify as an unforeseeable emergency.
If yes, please provide a detailed explanation of the unforeseeable emergency that has caused you, your spouse, your
dependent or your primary beneficiary a severe and unforeseeable financial hardship. Please be as detailed as you can,
including names and dates.

Attach extra sheets if needed.

Date(s) unforeseeable emergency occurred _____________________________

NOTE: Circumstances over 12 months from the date of application will not be considered for unforeseeable emergency
distributions.




   DC-3106 (11/2015)                 For help, please call 877-677-3678                   www.nrsforu.com              1
                 Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 48 of 61
Financial Position Acknowledgement
THIS ACKNOWLEDGEMENT IS REQUIRED TO BEGIN THE REVIEW PROCESS

I attest that the unforeseeable emergency has caused a severe and unforeseeable financial hardship to me, my spouse,
dependent, or primary beneficiary that cannot be met through any other means, including the following:
1. The reasonable liquidation of funds in checking and/or savings accounts, provided the liquidation would not itself cause an
immediate and heavy financial need,

2. The reasonable liquidation of funds in investment accounts, IRA’s, and/or insurance policy cash values, provided the
liquidation would not itself cause an immediate and heavy financial need,

3. The reasonable liquidation of nonessential assets (i.e. rental/vacation properties, RV’s, boats, or other), provided the
liquidation would not itself cause an immediate and heavy financial need,

4. The cancellation of elective deferrals under the 457 Deferred Compensation Plan,

5. Other currently available distributions or nontaxable loans from other plans maintained by my employer or any other
employer,

6. Borrowing from commercial sources on reasonable commercial terms in an amount sufficient to satisfy the need.

I certify that all of the information provided in this application is true, complete and accurate.

 Print Name:


 Signature:                                                                                          Date:




Distribution Amount
Distributions due to unforeseeable emergencies are only permitted in the amount necessary to satisfy the financial need
after reimbursement by insurance or other sources. Please attach required documentation to support the requested
amount. This distribution may be taxable.


Amount Requested $___________________________                         OR       c       Maximum Amount Allowed

Stopping your deferrals may help alleviate your financial need. If you would like to stop your deferrals please contact
customer service at 1-877-677-3678.

Selecting to stop contributions will require the completion of a new participation agreement to restart your contributions
to the deferred compensation plan.




2          DC-3106 (11/2015)                 For help, please call 877-677-3678                      www.nrsforu.com
                Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 49 of 61
Payment Method
c       Send check by first class mail to my address of record. Allow 5 to 10 business days from process date for 		
        delivery. (Default option, if no other option is selected)
c       Send check overnight at my expense to my address of record. I understand there is an additional $25.00 fee that
        will be deducted from my account. P.O. Box addresses are not eligible for overnight delivery and Saturday 		
        delivery may not be available in your area. Allow 2 to 4 business days from process date for delivery.
c       ACH Instructions on File – Send funds to my bank account that NRS has on file.
c       Direct Deposit by ACH: Check only one option: c Checking Account c Savings Account

							
Bank/Credit Union Name

(		 )					
Bank/Credit Union Phone Number

							
ABA (Routing) Number* (first nine digits only)

							
Account Number

Note: Direct Deposit is only offered through members of the Automatic Clearing House (ACH). We cannot accept a
deposit slip for banking numbers. If ACH information is not completed correctly a check will be sent to your address on
file.

Is this account associated with a brokerage firm or other investment firm?       c Yes c No

If yes, have you confirmed that the ABA and account numbers are correct?         c Yes c No

I hereby authorize NRS to initiate automatic deposits to my account at the financial institution named above. In the event
an error is made, I authorize NRS to make a withdrawal from this account. Further, I agree not to hold NRS responsible
for any delay or loss of funds due to incorrect or incomplete information supplied by me or by my financial institution or
due to an error on the part of my financial institution in depositing funds to my account. This agreement will remain in
effect until NRS receives a written notice of cancellation from me or my financial institution, or until I submit a new direct
deposit authorization form to NRS. In the event this direct deposit authorization form is incomplete or contains incorrect
information, I understand a check will be issued to my address of record.


Tax Withholding
Federal Tax: Please select one option, if no option is selected, NRS will use a default rate of 10% federal tax withholding.
c       Increases the distribution amount to accommodate federal tax withholding on the taxable portion on my
        distribution. I will receive the approved amount of my request (by check or direct deposit), and the total
        distribution amount will be increased to include federal tax withholdings. NRS will use a default withholding rate
        of 10%. If account balance is insufficient to accommodate federal taxes, 100% of the account balance will be
        processed an 10% federal taxes will be withheld. The remaining balance will be sent (by check or direct deposit)		
        to the member.
c       Do not withhold federal tax from my distribution. I will be liable for all federal taxes that may result from this
        distribution.

State Tax: State taxes will be automatically withheld if you are a resident in a state that mandates state income tax
withholding. If you would like to adjust your state taxes, please complete and attach a state tax withholding form. These
forms can be obtained from the State web site, NRS does not supply these forms.




    DC-3106 (11/2015)                  For help, please call 877-677-3678                     www.nrsforu.com                3
                 Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 50 of 61
Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be
   issued to me), and
2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been
   notified by the Internal Revenue Service (IRS) that I am subject to backup withholding as a result of a failure to report
   all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding, and
3. I am a U.S. citizen or other U.S. person.

4. The FATCA code entered on this form (if any) indicating that the payee is exempt from FATCA reporting is correct.


Authorization
I consent to a distribution as elected above. I understand that the terms of the Plan document will control the amount
and timing of any payment from the plan. I further acknowledge that this distribution is not eligible for rollover to another
retirement plan or IRA.



As required by law, and under the penalty of perjury, I certify the Social Security Number (Taxpayer Identification Number)
and information I have provided is correct. I am not subject to backup withholding because: (a) I am exempt from backup
withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am subject to backup withholding
as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup
withholding, and I am a U.S. citizen or other U.S. person.
 Print Name:


 Signature:                                                                                        Date:




Form Return
By mail:		        Nationwide Retirement Solutions                 By fax: 877-677-4329
                  PO Box 182797
                  Columbus, OH 43218-2797

                             OR

Express mail address:
		             Nationwide Retirement Solutions
		             3400 Southpark Place, Suite A
		DSPF-F2
		             Grove City, OH 43123-4856		




4            DC-3106 (11/2015)                 For help, please call 877-677-3678                www.nrsforu.com
Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 51 of 61




          EXHIBIT 3
                         Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 52 of 61

Company Name:__________________________________
HARDSHIP WITHDRAWAL APPLICATION
Employee Name                                                                       Social Security Number     Current Date

Mailing Address (City, State, Zip)                                                  Date of Birth              Home Phone Number

                                                                                    Marital Status             Business Phone Number
                                                                                         Single      Married

    HARDSHIP WITHDRAWAL PROVISIONS

    The Plan permits hardship withdrawals only to the extent a participant demonstrates to the satisfaction of the Plan Committee that
    the reason for the hardship withdrawal complies with the applicable requirements under the Internal Revenue Code and that such
    hardship imposes an immediate and heavy financial burden upon such participant. Hardship withdrawals are limited to bona fide
    financial emergencies as determined by the Plan Committee. A hardship withdrawal cannot be applied for until all other asset
    liquidation and credit options (including loan from 401(k) Plan) have been exhausted.

    You will need to consult with your financial advisor to determine if there will be a 10% early withdrawal penalty when you file your
    taxes for the year in which Hardship Withdrawal is taken.

    If you have any question about Hardship Withdrawals please contact your Human Resources Department.

    AMOUNTS AVAILABLE FOR WITHDRAWAL
    If you have a qualified hardship, you may withdraw the amount necessary to meet the need created by the hardship, subject to
    reduction by any other assets you have available from any other source to meet the hardship. The total amount of the withdrawal
    cannot exceed the value of your deferral account.*

    NATURE AND DESCRIPTION OF HARDSHIP

    In the space provided below, indicate the nature of the hardship for which you are requesting a withdrawal from the Plan. You may
    attach additional pages if more space is needed. You may also attach any documents which you feel would help prove that you
    have a financial hardship. As part of the review process, the Plan Committee may require additional proof of your financial hardship.

            Payment of medical care expenses previously incurred by the participant or the participant's spouse or dependents; expenses
            necessary to obtain medical care are also covered




            Costs related to the purchase of a participant's principal residence (not including mortgage payments)




            Payment of tuition, related educational fees, and room and board expenses for the next 12 months of post-secondary
            education



            Payments necessary to prevent eviction from or foreclosure on a mortgage on the participant's principal residence




* After 1/1/89, earnings on the deferral account are not available for withdrawal
NBS - 406a(10/02)

                Please forward this from to your company's Human Resource Department
                        Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 53 of 61

Company Name:__________________________________
HARDSHIP WITHDRAWAL APPLICATION
   PENALTIES

   If you withdraw funds from the Plan, you cannot make any deferral contribution to the Plan for 6 months after the withdrawal.

   CERTIFICATION OF HARDSHIP

   I have read and I understand this application for hardship withdrawal. I hereby request a withdrawal in the amount of
   $________________. I hereby certify that I do not have any other source of assets which can be liquidated to meet the financial
   hardship outlined above. I consent to the immediate distribution of the withdrawal to me in a single sum cash payment. I declare
   under penalty of perjury under the laws of the state of _______________ that the information I have supplied on this application for
   the hardship withdrawal is true and complete in all respects. This application was signed at:


                 City                                                                                                 State


                 Participant Signature                                                                                Date


   SPOUSAL CONSENT
      Federal laws require that the Plan Committee obtain adequate signature verification when certain benefit payments are made under qualified plans; therefore, if
      you are legally married and the amount of the distribution is over $5,000, both you and your spouse must sign this hardship withdrawal application. Your spouse's
      signature must be witnessed by a Plan representative or a notary public.

                                                                                               WITNESSED IN THE PRESENCE OF:


   Spouse's Signature                                           Date                           Notary Public or Plan Administrator                          Date

                                                              FOR TRUSTEE USE ONLY:

   This Hardship Withdrawal Application has been approved by the Trustees of the Plan.



                                                                                               Trustee Signature (Required)                                 Date

   Additional Information or Comments:




NBS - 406b(11/2003)

                Please forward this form to your company's Human Resource Department
Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 54 of 61




          EXHIBIT 4
                    Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 55 of 61
                                                     City of Baltimore Retirement Savings and
                                                                  Deferred Compensation Plans
                                               457(b) Coronavirus-Related Distribution Request
                                                                                                                   Page 1 of 3

This form is to be used for a distribution made available under the Coronavirus Aid, Relief, and Economic Security (CARES)
Act. Available for participants only.

Participant Information
Name: Marilyn J. Mosby
Date of Birth:                                               SSN or Account Number:
Street Address:
City:   Baltimore                                                             State1:   MD             ZIP:   21217
Phone2:                                             Email:
How would you like to be contacted if additional information is required? FPhone F
                                                                                  ✔ Email


1
NRS will use the State provided in your mailing address as your State of residency for tax purposes.
2
 Nationwide strives to provide excellent customer service to our Members. By providing your telephone number, you authorize the
Nationwide Family of Companies to contact you via telephone using automated technology to assist you with your account.

    Payment Amount
F Total Account Balance    OR F
                              ✔ Other Amount: $        40,000
NOTE: An amount must be provided and cannot exceed the lesser of 100% of the vested balance or $100,000 total across
all plans maintained by the Employer.

    Distribution Direction (select one)
If an option is not selected, your assets will be distributed from all money sources and investment funds (pro-rata). If you
indicate a percentage, you must use whole percents only.
F1. Proportionately from all sources and funds (pro-rata)

F2. From Speciﬁc Sources (indicate all that apply)                  F 3. From Speciﬁc Funds (please list funds)

                            $                     or         %                               $                    or         %
                            $                     or         %                               $                    or         %
                            $                     or         %                               $                    or         %
                            $                     or         %                               $                    or         %
                            $                     or         %                               $                    or         %

    Important Information
Money Sources
Funds will be withdrawn equally across all money sources and investment options for each requested distribution unless
instructed otherwise.
Self-Directed Brokerage Account
If you have money in the Self-Directed Brokerage Account and the requested amount exceeds your core account balance,
you will need to transfer funds back to the core account before your request can be processed.




NRF-0765MD-BT (05/2020)                      For help, please call 855-826-5407                          retirewithbmore.com
                Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 56 of 61                                                               Page 2 of 3
Payment Method (select one)
F ACH Instructions on File – Send funds to my bank account that Nationwide has on ﬁle.
F Send check by ﬁrst class mail to my address of record. Allow 5 to 10 business days from process date for delivery.
  (Default option, if no other option is selected)
F
✔ New Direct Deposit ACH (complete information below)



Financial Institution Information:
                                                          John Doe                                                                                   1492
                                                          123 Main Street Ph. (916) 555-1212
                                                          Hometown, CA 98765                                             Datee




                                                                                       D
Financial Institution Name




                                                                                     I                                                   $
                                                          PAY TO THE




                                                                                  VO
                                                          ORDER OF

Account Type: F   ✔ Checking   F Savings
                                                                                                                                                   DOLLARS
If account type is not selected, checking will be used.
                                                          Money Bank, Inc.
                                                          321 Main Street
                                                          Hometown, CA 98765

Transit/ABA routing Number                                MEMO




Account Number                                                    :
                                                                  | 123456789 |                :   000012345678 ||•                1492

                                                                 9-digit ABA routing number        Checking Account Number       Check Number


Account Veriﬁcation: The following documents are required to verify ownership of the account provided:
   • Checking Accounts: Please include a pre-printed voided check with this authorization.
   • Savings Accounts: Please include a letter from the bank, signed by a bank representative, which indicates the ABA
     routing number, the account number and the account holder’s name for veriﬁcation.
NOTE: Direct Deposit is only offered through members of the Automatic Clearing House (ACH). We cannot accept a
deposit slip or starter check for banking numbers.
Is this account associated with a brokerage ﬁrm or other investment ﬁrm?                            F Yes        F
                                                                                                                 ✔ No


If yes, have you conﬁrmed that the ABA and account numbers are correct?                             F Yes        F No
I hereby authorize Nationwide to initiate automatic deposits to my account at the ﬁnancial institution named above. In
the event an error is made, I authorize Nationwide to make a corrective reversal from this account. Further, I agree not to
hold Nationwide responsible for any delay or loss of funds due to incorrect or incomplete information supplied by me or
by my ﬁnancial institution or due to an error on the part of my ﬁnancial institution in depositing funds to my account. This
agreement will remain in effect until Nationwide receives a written notice of cancellation from me or my ﬁnancial institution,
or until I submit a new direct deposit authorization form to Nationwide. In the event this direct deposit authorization form
is incomplete or contains incorrect information, I understand a check will be issued to my address of record.

Income Tax Withholding
Federal Income Tax Withholding: A 10% income tax will be withheld unless you elect otherwise below.
F No Withholding      F Other Withholding Amount:             %
State Income Tax Withholding: State taxes will be automatically withheld if you are a resident in a State that mandates State
income tax withholding. If you would like to adjust your State taxes, please complete and attach a State tax withholding
form. These forms can be obtained from the State website; Nationwide does not supply these forms.

Tax ID Certiﬁcation
I certify that under penalties of perjury that:
   1. The Taxpayer Identiﬁcation Number or Social Security Number listed on this form is my correct taxpayer identiﬁcation
      number (or I am waiting for a number to be issued to me), and
   2. I am not subject to backup withholding because:
          a. I am exempt from backup withholding, or
          b. I have not been notiﬁed that I am subject to backup withholding as a result of a failure to report all interest or
             dividends, or
          c. The Internal Revenue Service has notiﬁed me that I am no longer subject to backup withholding, and
   3. I am a U.S. citizen or other U.S. person, and
   4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
      (FATCA does not apply as this is a U.S. account)
You must cross out item (2) if you have been notiﬁed by the IRS that you are currently subject to backup withholding
because of failure to report interest or dividends on your tax return.




NRF-0765MD-BT (05/2020)                      For help, please call 855-826-5407                                                    retirewithbmore.com
                Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 57 of 61                                                  Page 3 of 3
Participant Coronavirus Certiﬁcation and Distribution Authorization
The Coronavirus Aid, Relief and Economic Security Act of 2020 (“CARES Act”) was signed into law on March 27, 2020.
The CARES Act permits qualifying members to receive a coronavirus-related distribution. I understand that I may receive
a distribution of up to $100,000 if I am a qualiﬁed individual. By making this request, I acknowledge that the amount of
coronavirus-related distribution(s) which I may obtain from The City of Baltimore Deferred Compensation Plan is limited to
the amount of $100,000 and that I am not exceeding this limit. I further acknowledge that the City of Baltimore Deferred
Compensation Plan is relying on my certiﬁcations in determining that I qualify for a coronavirus-related distribution and
that I will not exceed the applicable limit.
By signing this form, I certify that I meet at least one of the qualiﬁcations for a distribution as deﬁned under the CARES
Act Section 2202(a)(4)(A) summarized below: (check one)
  F I have been diagnosed with the virus SARS-CoV-2 or with coronavirus disease 2019 (COVID-19) by a test approved
     by the Centers for Disease Control and Prevention; or
  F I have a spouse or dependents diagnosed with such virus or disease by such a test; or

  F
  ✔ I have experienced adverse ﬁnancial consequences stemming from such virus or disease as a result of:
      • Being quarantined, furloughed or laid off
      • Having reduced work hours
      • Being unable to work due to lack of child care
      • The closing or reduction of hours of a business I own or operate

Additional Acknowledgments
I acknowledge that this distribution is subject to ordinary income taxes and any State or Federal income taxes withheld will
be reported on a form 1099-R. As listed in the Income Tax Withholding section on page 2 of this form, I understand that
10% will be withheld for Federal Income Tax unless I elected otherwise. To the extent otherwise applicable, I understand
that the CARES Act waives the 10% early withdrawal penalty for coronavirus-related distributions. The CARES Act also
permits the Federal tax on the distribution to be apportioned over a three-year period. The City of Baltimore Deferred
Compensation Plan has advised me to talk with my personal tax consultant about how this distribution will affect my
individual taxes and what repayment rights I have under the CARES Act.
I consent to a distribution as elected above and affirm under the penalties for perjury the statements and acknowledgments
made in this request. I understand that the terms of the plan document will control the amount and timing of any payment
from the plan.
The Internal Revenue Service does not require your consent to any provision of this document other than the certiﬁcations
required to avoid backup withholding.

Signature (required):                                                                                    Date:
                                                                                                                 5/26/20
                        NOTE: Adobe Signature is not permitted.

NOTE: The full text of the CARES Act can be found at https://www.congress.gov/bill/116th-congress/house-bill/748/text

Form Return
By mail: Nationwide Retirement Solutions                               By email: rpublic@nationwide.com
         PO Box 182797
         Columbus, OH 43218-2797                                       By fax: 877-677-4329




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Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 58 of 61




          EXHIBIT 5
                      Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 59 of 61




Special Coronavirus Relief for Retirement Plans                                                                             SPRING 2020

and IRAs: Facts You Need to Know
By David Cechanowicz, JD, MSFS, AIF ®, AEP, EA – Senior Financial Planner



O     n the heels of the SECURE Act that was passed at the end of 2019, the CARES Act of 2020 has provided
      expanded distribution options and favorable tax treatment for up to $100,000 of coronavirus-related
distributions from eligible retirement plans. In addition to special rollover rules that will apply to those distributions,
the Act increases the limits on the amount a qualified individual may borrow from an eligible retirement plan (not
an IRA) and changes the loan repayment terms. It also eliminates required minimum distributions from most
retirement plans.

KEY QUESTIONS & ANSWERS
Q     Who qualifies for the CARES Act provisions pertaining to retirement plans (as outlined
      in Section 2202)?
A     You are a qualified individual if:
        • You are diagnosed with the virus SARS-CoV-2 or with coronavirus disease 2019 (COVID-19) by a test
          approved by the Centers for Disease Control and Prevention;
        • Your spouse or dependent is diagnosed with SARS-CoV-2 or with COVID-19 by a test approved by the
          Centers for Disease Control and Prevention;
        • You experience adverse financial consequences as a result of being quarantined, being furloughed or
          laid off, or having your work hours reduced due to SARS-CoV-2 or COVID-19;
        • You experience adverse financial consequences as a result of being unable to work due to lack of child
          care due to SARS-CoV-2 or COVID-19; or
        • You experience adverse financial consequences as a result of closing or reducing hours of a business
          that you own or operate due to SARS-CoV-2 or COVID-19.

      The IRS has gone on record to say it may issue additional guidance that explains and expands the list
      of factors that will be taken into account to determine whether an individual is qualified as a result of
      experiencing adverse financial consequences. “Adverse financial consequences” is not a term of precision
      and will need additional clarification.
      In the meantime, the IRS points to notice 2005–92, which was issued on November 30, 2005. That notice
      provided guidance on the tax favored treatment of distributions and plan loans that were linked to the Katrina
      Emergency Tax Relief Act of 2005. The IRS has stated that where current circumstances are similar to those
      in 2005, the 2005 notice can be used for guidance.
                                                                                                                              continued


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              Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 60 of 61
Q   What is a coronavirus-related distribution?
A   This is a distribution that is made from an eligible retirement plan to a qualified individual from January 1,
    2020 to December 30, 2020. The amount of the distribution is capped at $100,000 for qualified retirement
    plans and IRAs.

Q   Is there a 10% penalty for taking a coronavirus-related distribution from my retirement
    plan or IRA if I am younger than 59½?
A   No, the 10% additional tax on early distributions does not apply to any coronavirus-related distributions.
    Additionally, the mandatory 20% withholding rules do not apply for such distributions.

Q   When are the taxes due on a coronavirus-related distribution from a retirement plan?
A   The distributions are generally included in your income over a three-year period, starting with the year in
    which you receive your distribution. For example, if you took a $30,000 coronavirus-related distribution
    in 2020, you would report $10,000 in income on your federal income tax return for each of the following
    years: 2020, 2021, and 2022. You will still have the option of including the entire distribution in your
    income in the year it was distributed.

Q   Can a coronavirus-related distribution be repaid to the retirement plan?
A   There are two relief provisions that deal with loans from retirement plans. However, understand that
    retirement plans are not required to have loan provisions. If a retirement plan does not have loan
    provisions, the CARES Act cannot force loans to be made.
    1. If a loan is outstanding on or after March 27, 2020, and any repayment on the loan is due from March
       27, 2020 to December 31, 2020, that due date may be delayed under the plan for up to one year. Any
       payments after the suspension will be adjusted to reflect the delay and any interest accruing during
       the delay.
    2. The CARES Act also permits employers to increase the maximum loan amount available to qualified
       individuals. Loans used to be restricted to $50,000 or the vested account balance, if less. That limit
       may now be increased up to $100,000 (minus any outstanding loans already held by the individual), or
       the vested benefit under the plan if it is less than $100,000.

Q   Does the CARES Act eliminate required minimum distributions for individuals who
    would otherwise be required to take them?
A   Required minimum distributions have been suspended for 2020. The suspension will apply for everyone
    with an IRA or a defined contribution type of account, but not for individuals who are participants in
    defined benefit plans that are required to take withdrawals.

Q   Can I roll over the required minimum distribution that I took early in the year?
A   Individuals who took their required distribution during the month of January 2020 are not able to roll
    those distributions into an IRA account. Additionally, individuals who took a series of distributions each
    month can only roll over one month’s distribution in 2020. That is because the rollover rules only allow one
    rollover for every 12 calendar months. Individuals who took distributions in February, March or April have
    until July 15 of 2020 to roll those distributions over if they choose.
                                                                                                          continued



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              Case 1:22-cr-00007-LKG Document 67-1 Filed 06/01/22 Page 61 of 61
Q   Can I still make a qualified charitable distribution from my IRA in 2020?
A   One of the requirements to make a qualified charitable distribution from an IRA is that the distribution can
    only be made by individuals who are subject to required minimum distributions. Even though required
    minimum distributions have been suspended, you may still give IRA money directly to a charity in 2020.
    Additionally, even though required minimum distributions do not begin until age 72, the previous law
    allowing those distributions to begin at age 70½ remains in place.

Q   Are there other planning issues that I might think about during this year when required
    distributions are suspended?
A   Depending on your personal income tax situation, 2020 may be a year where it makes sense for you to
    consider converting some IRA money to a Roth IRA. It is known that the Tax Cuts and Jobs Act of 2017,
    which reduced brackets, will expire in 2025. Without Congress having to do anything, income tax rates
    will rise. It may make sense for you to discuss with your tax advisors exactly where the sweet spot may
    be for you to consider a Roth conversion.
    There are many additional issues surrounding the uncertainty that has been brought about by this
    pandemic. We at REDW Wealth stand ready to help you understand the changes in the tax law and
    planning strategies you might want to consider during this year.



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